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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

  ZIFF DAVIS, INC., ZIFF DAVIS, LLC, IGN
  ENTERTAINMENT, INC., EVERYDAY
  HEALTH MEDIA, LLC, MASHABLE, INC.,                     No. 25-cv-04315-SHS-OTW
  and CNET MEDIA, INC.,
                                                         FIRST AMENDED COMPLAINT
                             Plaintiffs,

                           v.                            JURY TRIAL DEMANDED

  OPENAI, INC., OPENAI GP, LLC, OPENAI,
  LLC, OPENAI OPCO, LLC, OPENAI
  GLOBAL LLC, OAI CORPORATION, and
  OPENAI HOLDINGS, LLC,

                             Defendants.


                                     FIRST AMENDED COMPLAINT

           Plaintiffs Ziff Davis, Inc., Ziff Davis, LLC, IGN Entertainment, Inc., Everyday Health

 Media, LLC, Mashable, Inc., and CNET Media, Inc. (together, “Ziff Davis” or “Plaintiffs”), for

 their First Amended Complaint against Defendants OpenAI, Inc., OpenAI GP, LLC, OpenAI,

 LLC, OpenAI OpCo LLC, OpenAI Global LLC, OAI Corporation, and OpenAI Holdings, LLC

 (together, “OpenAI”), respectfully allege as follows:

                                           INTRODUCTION

      1.          Ziff Davis, by its attorneys, brings this action against OpenAI for copyright

infringement, violations of the Digital Millennium Copyright Act (“DMCA”), unjust enrichment,

and trademark dilution.

      2.          Ziff Davis has published high-quality journalism for nearly 100 years, growing

from its roots as the publisher of Popular Aviation to its current stewardship of over 45 diverse

digital media publications and internet brands, including IGN, Mashable, CNET, ZDNET, PCMag,


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Lifehacker, BabyCenter, and Everyday Health. Each year, it produces nearly 2 million new articles

and article updates—including over 5,000 product reviews—in which it owns the exclusive rights

under 17 U.S.C. § 106 of the Copyright Act (“Ziff Davis Works” or “Plaintiffs’ Works”).

      3.        OpenAI develops Artificial Intelligence (“AI”) large language models (“LLMs”),

including its “Generative Pretrained Transformer” or “GPT” series of LLMs.

      4.        To build and operate its LLM software and LLM-based products and services,

OpenAI has intentionally and relentlessly reproduced exact copies and created derivatives of Ziff

Davis Works without Ziff Davis’s authorization.

      5.        Specifically, Defendant OpenAI has and continues to knowingly:

               a.     Copy the text of Ziff Davis Works from Ziff Davis’s websites without

               authorization;

               b.     Violate and circumvent Ziff Davis’s explicit written terms and demands,

               and technological controls;

               c.     Strip out key copyright management information (“CMI”) from Ziff Davis

               Works, and distribute copies of those Works without CMI;

               d.     Use copied Ziff Davis Works to develop LLMs;

               e.     Use copied Ziff Davis Works to operate LLMs and LLM-based products

               and services, which it provides to third parties;

               f.     Reproduce, distribute, display, perform, and make available for access, Ziff

               Davis Works verbatim and in close paraphrase and derivative form (but with CMI

               removed);

               g.     Facilitate, enable, and induce the reproduction, distribution, display, and

               performance of Ziff Davis Works by third parties; and



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                h.     Falsely attribute output to Ziff Davis that is not Ziff Davis content, and

                falsely attribute Ziff Davis content to other parties.

      6.        Defendant OpenAI has taken each of these steps knowing that they violate Ziff

Davis’s intellectual property rights and the law.

      7.        OpenAI’s actions violate, either directly or indirectly:

                a.     Ziff Davis’s exclusive rights of reproduction, preparation of derivative

                works, distribution, performance, and public display under the Copyright Act;

                b.     Provisions of the DMCA prohibiting circumvention of technical copy

                protection measures and removal of copyright management information;

                c.     Delaware state laws’ protection against unjust enrichment; and

                d.     The Lanham Act’s and Delaware state laws’ prohibitions against trademark

                dilution.

      8.        OpenAI’s actions and violations of law harm Ziff Davis because they:

                a.     Substitute OpenAI’s LLMs, products, services, and outputs for Ziff Davis’s

                media content and distribution services;

                b.     Usurp Ziff Davis’s ability to monetize user interactions through

                advertising, product sales commissions, and other revenue-producing activities;

                c.     Deprive Ziff Davis of the licensing fees OpenAI should have paid to Ziff

                Davis; and

                d.     Dilute Ziff Davis’s parent brand and many well-known media brands by

                falsely attributing to them statements and text that Ziff Davis never published.

      9.        Upon information and belief, OpenAI has long been aware that its use of third-

party works, including Ziff Davis Works, constitutes copyright infringement, and further has been



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aware of the widespread reports of copyright infringement after releases of its various products.

Further, by letters dated February 5, 2024 and May 20, 2024, Ziff Davis put OpenAI on notice of

Ziff Davis’s claims.

       10.        Ziff Davis also wrote to OpenAI on August 23, 2024 to provide further

information that would support an infringement claim and to request a meeting to discuss a

licensing arrangement. OpenAI rebuffed the invitation to meet.

       11.        Ziff Davis has documented—even pre-discovery—specific instances in which

OpenAI copied Ziff Davis’s content to develop and operate LLMs, violating the DMCA in

multiple knowing and intentional ways in the process.

       12.        OpenAI has concealed much of its misconduct by abandoning its founding

principle of openness—and constituent open-sourcing and transparent publication practices—

deferring a wealth of information about OpenAI’s infringements and violations of law for

discovery.

       13.        Ziff Davis alleges and will prove that whole portions of OpenAI’s LLMs are

themselves infringing copies of Ziff Davis Works.

       14.        OpenAI seeks to move fast and break things on the assumption that the federal

courts will not be able to effectively redress content owners’ sometimes existential concerns

before it is too late.

       15.        Simultaneously with intentionally and egregiously exploiting the content of Ziff

Davis and other commercial web publishers without permission, OpenAI is also actively creating

and cultivating a market to license content from publishers.

       16.        OpenAI, by its actions, has flouted copyright and trademark law and discredited

its own pretext for that flouting. Ziff Davis therefore seeks relief from this Court.



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                                 JURISDICTION AND VENUE

      17.       This Court has subject matter jurisdiction over Ziff Davis’s claims pursuant to

28 U.S.C. §§ 1331 and 1338 as they arise under the Copyright Act.

      18.       This Court has personal jurisdiction over each of the OpenAI Defendants because

they are incorporated in, registered in or formed in Delaware, and therefore reside in this District.

Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and 28 U.S.C. § 1400(a) because

OpenAI and its agents reside in or may be found in this District.

                                             PARTIES

      19.       Plaintiff Ziff Davis, Inc. is a Delaware corporation with its principal place of

business at 360 Park Avenue South, 17th Floor, New York, New York.

      20.       Plaintiff Ziff Davis, LLC is a Delaware limited liability company with its

principal place of business at 360 Park Avenue South, 17th Floor, New York, New York.

      21.       Plaintiff IGN Entertainment, Inc. is a Delaware corporation with its principal

place of business at 360 Park Avenue South, 17th Floor, New York, New York.

      22.       Plaintiff Everyday Health Media, LLC is a Delaware limited liability company

with its principal place of business at 360 Park Avenue South, 17th Floor, New York, New York.

      23.       Plaintiff Mashable, Inc. is a Delaware corporation with its principal place of

business at 360 Park Avenue South, 17th Floor, New York, New York.

      24.       Plaintiff CNET Media, Inc. is a Delaware corporation with its principal place of

business at 360 Park Avenue South, 17th Floor, New York, New York.

      25.       Defendant OpenAI, Inc. is a Delaware corporation with its principal place of

business at 3180 18th Street, San Francisco, California. Upon information and belief, Defendant




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OpenAI, Inc. is a non-profit company that governs other OpenAI entities and perpetrated the

infringing and other unlawful activities alleged in this First Amended Complaint.

      26.       Defendant OpenAI GP, LLC is a Delaware limited liability company with its

principal place of business at 3180 18th Street, San Francisco, California. OpenAI GP, LLC is

wholly owned and controlled by OpenAI, Inc. and is responsible for managing and operating the

day-to-day business and affairs of OpenAI OpCo LLC, formerly known as OpenAI LP. Through

OpenAI GP, LLC, OpenAI, Inc. controls OpenAI OpCo LLC and OpenAI Global LLC. Upon

information and belief, OpenAI, Inc. relaunched itself as a for-profit enterprise in 2019,

specifically through OpenAI GP, LLC and OpenAI OpCo LLC, and these entities perpetrated the

infringing and other unlawful conduct alleged in this First Amended Complaint.

      27.       Defendant OpenAI, LLC is a Delaware limited liability company, with its

principal place of business located at 3180 18th Street, San Francisco, California. OpenAI, LLC

was formed in September 2020, is responsible for monetizing and distributing OpenAI’s LLM-

based products, and upon information and belief perpetrated the infringing and other unlawful

activities alleged in this First Amended Complaint. Upon information and belief, OpenAI, LLC is

a subsidiary of OpenAI Global LLC, which is owned and controlled by both OpenAI, Inc. and

Microsoft Corporation.

      28.       Defendant OpenAI OpCo LLC is a Delaware limited liability company with its

principal place of business at 3180 18th Street, San Francisco, California. OpenAI OpCo LLC,

formerly known as OpenAI LP, is a subsidiary of OpenAI Global LLC, and is the sole member of

OpenAI, LLC. Upon information and belief, OpenAI OpCo LLC perpetrated the infringing and

other unlawful activities alleged in this First Amended Complaint, directing this activity through

its control of OpenAI, LLC. Additionally, OpenAI OpCo LLC serves as the for-profit arm of



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OpenAI, overseeing the commercialization of OpenAI’s products and services, including LLMs

and associated application programming interfaces (“APIs”).

      29.      Defendant OpenAI Global LLC is a capped profit limited liability company

formed under the laws of Delaware in late 2022, with its principal place of business located at

3180 18th Street, San Francisco, California. Upon information and belief, OpenAI Global LLC is

a subsidiary of Open AI, Inc. OpenAI, Inc. holds a majority interest in OpenAI Global LLC

indirectly through OpenAI GP, LLC. Upon information and belief, OpenAI Global LLC

perpetrated the infringing and other unlawful activities alleged in this First Amended Complaint

through its ownership, control, and direction of OpenAI, LLC.

      30.      Defendant OAI Corporation is a Delaware limited liability company with its

principal place of business located at 3180 18th Street, San Francisco, California. OAI

Corporation is a subsidiary of OpenAI, Inc. and its sole member is OpenAI Holdings, LLC. Upon

information and belief, OAI Corporation perpetrated the infringing and other unlawful activities

alleged in this First Amended Complaint through its ownership, control, and direction of OpenAI

Global LLC and OpenAI, LLC.

      31.      Defendant OpenAI Holdings, LLC is a Delaware limited liability company with

its principal place of business located at 3180 18th Street, San Francisco, California. Its sole

members are OpenAI, Inc. and Aestas, LLC, the latter of which is wholly owned by Aestas

Management Company, LLC. Aestas Management Company, LLC is a Delaware entity

established to facilitate a $495 million capital raise for OpenAI. Upon information and belief,

OpenAI Holdings, LLC perpetrated the infringing and other unlawful activities alleged in this

First Amended Complaint.




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                                         FACTUAL ALLEGATIONS

          Ziff Davis’s Media Business

          32.        Founded in 1927 by William Ziff and Bernard Davis, Ziff Davis has been a

cornerstone of publishing and media innovation for nearly a century. From its origins in enthusiast

print magazines to becoming a digital media powerhouse, Ziff Davis has always adhered to

William Ziff’s enduring principle that “growth will come in those media that reach the…consumer

in an intensive way, not in those that touch everyone lightly.” This philosophy continues to define

Ziff Davis’s brands, driving their ability to deliver deeply relevant, expertly-researched, and

trusted content.

          33.       Today, Ziff Davis is a vertically focused digital media and technology company

with over 45 portfolio media brands. Its well-known publications and editorial sites, including

IGN, Mashable, CNET, ZDNET, PCMag, Lifehacker, BabyCenter, and Everyday Health, are

circulated to millions of consumers on a daily basis. A list of Ziff Davis brands is attached hereto

as Exhibit A.

          34.       Ziff Davis’s storied history and vast audience of readers demonstrate the quality

and value of its brand and content.

           Ziff Davis’s Media Verticals

          35.        Ziff Davis provides authoritative content and services in discrete and consumer-

rich media “vertical” categories, including Technology and Shopping, Gaming and Entertainment,

and Health and Wellness, which operate under their own well-known umbrella brands:1

                ● Technology and Shopping. Ziff Davis’s CNET Group comprises marquee

                     names of technology journalism, including CNET, a longtime leader in



1
    Ziff Davis also operates well-known connectivity, cybersecurity, and marketing technology businesses.


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         providing expert news, information, and trusted reviews covering consumer

         technology, money, wellness, and other topics; ZDNET, an authoritative

         provider of global technology business news, advice, and insights;

         Mashable, a news and entertainment site covering technology and digital

         media; PCMag, a leading authority on technology that delivers lab-based,

         independent reviews of the latest products; Lifehacker, which provides users

         with general life tips and tech help; AskMen, which provides expert advice

         in men’s lifestyle; and Spiceworks, a global IT professional network and

         marketplace that publishes news and research for technology professionals.

         Ziff Davis Shopping provides expert editorial content for shopping needs

         across eight brands including RetailMeNot, which helps guide consumers

         through the best shopping deals; Deals of America, which collates the best

         online deals, coupons, promotions and special offers from US stores in real

         time; TechBargains, the leading online destination for consumers searching

         for the best deals on the hottest products and gadgets; and BlackFriday and

         TheBlackFriday, which help shoppers view popular Black Friday

         advertisements in one central location.

      ● Gaming and Entertainment. Ziff Davis’s IGN Entertainment is a leading

         digital media company in its own right and predominates in its sector in the

         quality and influence of its content. It provides extensive authoritative

         content relating to video games (including game help and guide content),

         films, anime, television, comics, and other media. It draws on unparalleled

         access to game developers and the broader gaming community. Its brands



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                   include IGN, Gamer Network (and constituent brands including Eurogamer,

                   Rock Paper Shotgun, and VG247), Maxroll, and MapGenie. IGN

                   Entertainment is considered one of the most recognizable brands for games,

                   entertainment, and fan-culture in major markets worldwide.

                ● Health and Wellness. Ziff Davis’s Everyday Health Group is a recognized

                   leader in patient and provider news, information, and services. Its most

                   recognizable assets include Everyday Health, a provider of trustworthy

                   health and wellness information through expert editorial staff and medical

                   reviewers; What To Expect, the world’s most recognized and trusted

                   pregnancy and parenting brand; BabyCenter, on which parents and

                   expecting parents rely for content about conception, pregnancy, birth, and

                   early childhood development; MedPage Today, a trusted source for clinical

                   news coverage across the medical specialties; and theSkimm, a provider of

                   news and information through its website and suite of email newsletters.

       36.         Ziff Davis’s media properties reach, inform, and guide the decision-making of

hundreds of millions of consumers. Ziff Davis’s top digital media properties together averaged

over 291 million unique user visits per month in the last twelve available months of third-party

traffic data.

       37.         Ziff Davis has built a legacy of trust and authority across diverse audiences,

cementing its media properties as leaders in their respective fields. Its most widely recognized

media properties have won numerous awards, including:




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                a.     CNET, Mashable, and Lifehacker are frequently honored for the excellence

                of their digital media content, winning awards from the LA Press Club, FOLIO’s

                Eddie & Ozzie Awards, The Webby Awards, and the Telly Awards.

                b.     MedPage Today is a frequent winner of the Health Information Resource

                Center’s Digital Health Awards, recognizing the exceptional quality of its deep

                investigative reporting, news and opinion content, and video series. MedPage

                Today has won 41 Digital Health Awards in the past three awards years.

                c.     What to Expect and BabyCenter have received a variety of awards for their

                news, storytelling, and interactive media, including multiple The Webby Awards

                and Digital Health Awards.

                d.     Everyday Health has won over 100 awards in the past three years alone,

                including many Digital Health Awards, Academy of Interactive & Visual Arts w3

                Awards for best website editorial experience, and Medical Marketing & Media

                Awards for best media brand.

                e.     IGN, Eurogamer, and VG247 have earned dozens of awards throughout

                their decades of operation, including MCV/DEVELOP Awards, Games Media

                Awards, Association of Online Publishers Digital Publishing Awards, Shorty

                Awards, and Webby Awards.

      38.       Reporters for Mashable, CNET, ZDNET, IGN, MedPage Today, and other Ziff

Davis investigative reporters devote themselves tirelessly to original investigation, research, and

reporting, and they consistently and frequently break major stories in their respective fields.




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      39.        Ziff Davis’s content is supported by rigorous research, reporting, and product

testing, and its experienced writers and editors incorporate the results of these efforts into original

stories. For example:

                a.      Since 1984 PCMag has operated one of the longest-running independent

                testing facilities for consumer technology products in the country. It produces

                unbiased technology product and service reviews, and PCMag’s Editor’s Choice

                award is recognized globally as a trusted mark for buyers and sellers of technology

                products and services.

                b.      CNET maintains three specialized lab facilities: one in New York City for

                testing of technology products and measurement of performance data such as

                battery life, screen brightness, color fidelity, and network connection lag, which

                it shares with ZDNET; a second in Louisville, Kentucky, in which products such

                as large appliances, televisions, smart home devices, and fitness equipment are

                tested under strict environmental controls; and a third in Reno, Nevada for

                mattress review testing.

                c.      Everyday Health, What to Expect, and BabyCenter all produce journalism

                that is extensively researched and reported by its original authors and rigorously

                fact-checked by teams of expert medical reviewers holding M.D.s, Ph.D.s,

                master’s degrees, and other specialized degrees.

                d.      The journalists writing for IGN and Ziff Davis’s other Gaming and

                Entertainment digital media properties spend hours playing and beating video

                games and critically consuming entertainment content, and they use this research




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                   and experience to create original reviews, reporting, and book-length game

                   guides.

      40.          Ziff Davis invests directly in content creation through its teams of journalists,

editors, designers, and producers, as well as indirectly, by funding website and app platform

development, innovation, and maintenance. Ziff Davis invests in the corporate infrastructure that

supports that content creation, including through the work of its human resources, finance,

accounting, business and corporate development, technology, product management, information

security, legal, and management professionals who work within its operating divisions and at the

corporate level.

      41.          Ziff Davis has a workforce of over 3,800 employees and over 40 offices

worldwide.

      42.          In short, Ziff Davis and its personnel expend and invest considerable time, energy,

and resources—and take financial and journalistic risks—to create the Ziff Davis Works.

      43.          Ziff Davis’s reach is global: its media properties offer approximately 70 regional

editions, and its content is published in 20 languages in over 100 countries. Ziff Davis also has a

robust social media presence and as of June 2025 boasted approximately 122 million followers

across various platforms.

      44.          In the aggregate, Ziff Davis’s websites realize more inbound traffic from

traditional, link-oriented search engines than its key peers, for example receiving over 195 million

visits directly from search engine results in March 2025 according to third-party reporting:




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                  Rank      Publisher       March 2025 organic search visits

                    1    Ziff Davis                                 195,444,230
                    2    IAC                                        171,992,393
                    3    NY Times                                   167,234,204
                    4    Red Ventures                               125,904,722
                    5    News Corp                                  102,232,014
                    6    Hearst                                      97,328,101
                    7    Future                                      96,044,415
                    8    Vox Media                                   61,957,138
                    9    Axel Springer                               61,455,201
                   10    Internet Brands                             50,377,250
                   11    Penske                                      47,927,190
                   12    Gannett                                     41,778,440
                   13    Buzzfeed                                    27,603,953
                   14    Advance                                     27,227,326
                   15    Washington Post                             22,089,245
                   16    Alden Capital                                 3,222,899


      45.       The protection of Ziff Davis’s intellectual property in the Ziff Davis Works is

essential to its ability to continue to provide the high-quality content that its readers expect,

maintain its competitive market position, and grow its revenue.

      46.       Due to this investment, Ziff Davis attracts and retains consumer and professional

audience attention and maintains a robust roster of premium clients, generating significant revenue

streams from, among other sources, display and video advertising, other sponsorships, content and

data licensing, subscriptions, third-party sales referrals, and other forms of performance

marketing.

      47.       In 2024, Ziff Davis’s advertising and performance marketing revenue was

approximately $778 million, and the total revenue of its Technology and Shopping, Gaming and


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Entertainment, Health and Wellness, and Connectivity publicly-reportable segments (which

previously comprised Ziff Davis’s Digital Media publicly-reportable segment) exceeded $1

billion.

         48.       Ziff Davis licenses its content and other intellectual property to third parties for

various uses, such as syndication through platforms including Apple News, MSN, and Yahoo, as

well as enterprise licensing through the Copyright Clearance Center and other organizations.

         49.       Ziff Davis also licenses its content to a host of international operators of localized

editions of Ziff Davis media properties in countries and regions throughout the world.

         50.       Ziff Davis expends considerable resources in developing and operating its

licensing business and pursuing and obtaining new sources of revenue and content business

opportunities.

         51.       As such, in a few instances Ziff Davis has negotiated and entered into limited

licensing agreements for the authorized use of its content and intellectual property in connection

with the development and operation of LLMs and AI systems.

         52.       Ziff Davis does not typically place its media content behind “paywalls.” It is

directly harmed by the diversion of consumer attention to competing sources of unauthorized

copies of its content because reductions in audience engagement with Ziff Davis websites diminish

its revenue—and in turn its ability to produce more high-quality content.

           Copyright Interests

         53.       Ziff Davis has registrations covering more than 1.3 million works with the U.S.

Copyright Office, as set forth in Exhibit B (the “Registered Works”2).




2
    Ziff Davis also has pending appeals of Application Nos. 1-6NUHY6Q, 1-6NX6D4R, and 1-6NX2GS2.


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         54.         Ziff Davis’s copyright registrations cover, but are not limited to, editorial archives

of Everyday Health, What to Expect, MedPage Today, IGN, Eurogamer, Games Industry, Rock

Paper Shotgun, Dicebreaker, VG247.com, Migraine Again, Daily Diabetes, BPHope, Mashable,

PCMag, CNET, ZDNET, and Lifehacker.

          Trademark Interests

         55.      Ziff Davis and/or its subsidiaries or affiliates hold federal trademark registrations

for ZIFF DAVIS, including under U.S. Registration Nos. 7346739 4107486, and 5821876 (the

“Ziff Davis Mark”). Ziff Davis and/or its subsidiaries or affiliates also hold federally registered

trademarks for many of its brands and variations thereof, as set forth in Exhibit C (together with

the Ziff Davis Mark, the “Registered Marks”).

         56.      The Ziff Davis Mark, along with several of its media brands and related marks,

have achieved widespread recognition and fame by virtue of their respective scope of use, duration

of use in interstate commerce, and the geographic reach of advertising and publicity related to each

brand. These marks include MASHABLE, LIFEHACKER, CNET, ZDNET, PCMAG,

BABYCENTER, and IGN (collectively with the Ziff Davis Mark, the “Famous Marks”). For

example:

                a.       Technology & Shopping:

                            •   In 2024, Ziff Davis’s Technology & Shopping category generated a

                                combined total of $362 million in revenue from advertising,

                                subscriptions, licensing, and syndications.

                            •   Mashable (U.S. Reg. No. 4339040) was founded in 2005. By 2009,

                                Time Magazine had named it one of the 25 best blogs in the world.3


3
    “Mashable”, 25 Best Blogs 2009, TIME Magazine,



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                               Mashable had a reported average of 12.9 million monthly unique

                               visitors based on the last twelve available months of data from a third-

                               party provider. As of June 2025, it has 22.7 million followers across

                               various social media platforms. It attracts readers from all over the

                               world and is considered a leading source for technology and

                               entertainment news worldwide, winning various awards, and

                               generating a substantial amount of the total 2024 revenue under the

                               MASHABLE Mark.

                          •    Lifehacker (U.S. Reg. No. 3274709) was founded in 2005 and has since

                               become a globally leading website for news, technology, and everyday-

                               life hacks. Lifehacker had a reported average of 3.2 million monthly

                               unique visitors in the last twelve available months of data from a third-

                               party provider. As of June 2025, it has 6.4 million social media

                               followers.

                          •    CNET (U.S. Reg. Nos. 7057152; 7057153; 7057154; 2129863;

                               2163213; 1888794; 2175989; 5598925; 5598924) was founded in 1992

                               as CNET Inc. and launched as a website in 1995. CNET had a reported

                               average of 23.3 million monthly unique visitors based on the last twelve

                               available months of data from a third-party provider. As of June 2025,

                               it has 12.6 million social media followers.

                          •    ZDNET (U.S. Reg. Nos. 2333430; 3900220; 3900221; 3900222;

                               7156979; 7489673; 7496429 was founded in 1992. It had a reported


https://content.time.com/time/specials/packages/article/0,28804,1879276_1879279_1879302,00.html (last visited on
July 1, 2025).


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                             average of 8 million monthly unique visitors based on the last twelve

                             available months of data from a third-party provider. As of June 2025,

                             it has 1.1 million social media followers.

                         •   PCMag (U.S Reg. Nos. 2590967; 4714982; 3542630; 4714984;

                             5136871; 7603781; 5640918; 5127192) was conceived in 1981 with

                             the first print issue launched in 1982. According to third-party sources,4

                             PCMag has been trusted by “26 million computer owners and users”

                             since 1982. PCMag had a reported average of 9.7 million monthly

                             unique visitors based on the last twelve available months of data from

                             a third-party provider. As of June 2025, it has 2.6 million social media

                             followers.

              b.       Health & Wellness

                         •   In 2024, Ziff Davis’s Health & Wellness category generated a

                             combined total of $362 million in revenue from advertising,

                             subscriptions, licensing, and syndications.

                         •   BabyCenter (U.S. Reg. Nos. 6125634; 3230698; 3598894; 2237861;

                             6120142) was founded in 1997. BabyCenter had a reported average

                             of 11.4 million monthly unique visitors based on the last twelve

                             available months of data from a third-party provider. As of June 2025,

                             it has 5.6 million social media followers.




4
 PCMag Brought Surveys In-House and Saved $30,000,
Alchemer, https://www.alchemer.com/resources/blog/pcmag-brought-surveys-in-house-and-saved-30000/ (last
visited on June 28, 2025).


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               c.       Gaming & Entertainment

                           •    In 2024, Ziff Davis’s Game & Entertainment category generated a

                                combined total of $180 million in revenue from advertising,

                                subscriptions, licensing, and syndications.

                           •    IGN (U.S. Reg. Nos. 2948245; 3913019; 3844480; 3844481; 3844482;

                                5021618; 5395751; 2681579; 5021616; 5021617) was founded in

                                1996. IGN is available in 110 countries, 20 languages and 37 platforms.

                                IGN had a reported average of 23.9 monthly unique visitors based on

                                the last twelve available months of data from a third-party provider.

                                IGN has been described as “one of the world’s leading games and

                                entertainment media brands reaching more than 360 million users

                                monthly,”5 and the “No. 1 source for online videogame information,

                                with tens of millions of unique users and some of the most active

                                message boards on the Internet.” 6 As of June 2025, IGN has 53.5

                                million followers on social media platforms.

       57.       Ziff Davis or its predecessors-in-interest have continuously used the mark ZIFF

DAVIS, as well as the titles for each of its individual brands, including those listed in Exhibit A,

and variations thereof, in interstate commerce since the date of first publication for each title or

website (the “Common Law Marks”). Through the longstanding, exclusive, and widespread use

of these marks, Ziff Davis has developed substantial goodwill and recognition among consumers,



5
  IGN Creates the Ultimate In-Person Fan Event to Celebrate Video Games and Entertainment This Summer, Business
Wire (Feb. 13, 2024), https://www.businesswire.com/news/home/20240213127573/en/IGN-Creates-the-Ultimate-In-
Person-Fan-Event-to-Celebrate-Video-Games-and-Entertainment-This-Summer (last visited on June 28, 2025).
6
  Origins: The History of IGN, IGN (last updated June 8, 2021), https://www.ign.com/articles/2008/01/11/origins-the-
history-of-ign (last visited on June 28, 2025).


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establishing enforceable common law trademark rights in each mark. Ziff Davis therefore owns

the exclusive right to use these trademarks in commerce in connection with its goods and services.

       OpenAI’s Business

       1.        OpenAI’s History

       58.       OpenAI was founded in December 2015 as a non-profit organization focused on

AI research. The company received an initial $1 billion in funding from its founders, including

prominent tech entrepreneurs and investors such as Elon Musk (Tesla and X Corp. CEO), Reid

Hoffman (LinkedIn co-founder), Sam Altman (former Y Combinator president), and Greg

Brockman (former Stripe CTO). Companies like Amazon Web Services and Infosys were also

among OpenAI’s early backers.7

       59.       OpenAI initially declared that its research and activities would not be profit-driven.

Its co-founders expressed that the organization’s objective was to advance digital intelligence for

the collective benefit of humanity, free from an obligation to “generate financial returns.” 8

       60.       In its application for 501(c)(3) status, OpenAI promised that “[t]he specific purpose

of this corporation is to provide funding for research, development and distribution of technology

related to AI. The resulting technology will benefit the public and the corporation will seek to

open source technology for the public benefit when applicable.” 9

       61.       Despite its initial pledges of philanthropy, OpenAI soon transformed into a multi-

billion-dollar for-profit enterprise. In March 2019, three years after its founding, OpenAI

established OpenAI LP, a for-profit entity that undertook the majority of OpenAI’s operations,



7
  OpenAI, Introducing OpenAI, (Dec. 11, 2015), https://openai.com/index/introducing-openai (last visited Apr. 20,
2025).
8
  Id.
9
  OpenAI, Inc., Application for Recognition of Exemption Under Section 501(c)(3) of the Internal Revenue Code
(2016), https://www.documentcloud.org/documents/25197523-openai-application-for-tax-exempt-status.


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including product development. 10 This change allowed OpenAI to raise significant capital from

investors seeking financial returns.11

        62.      In addition to shedding its non-profit nature, OpenAI abandoned its initial

commitment to openness and transparency.

        63.      For instance, prior to the formation of the for-profit OpenAI LP, OpenAI published

relatively transparent research concerning its model development work and released its GPT-1

and GPT-2 LLMs and underlying code under open-source licenses.12

        64.      While OpenAI did not release the data used to develop or “train” GPT-2 publicly,

it did publicly release the top 1,000 domains of websites used in the WebText training dataset for

GPT-2 and a sample selection of the WebText training dataset itself.

        65.      After these model releases, however, OpenAI ceased its open-sourcing practices,

releasing subsequent models such as GPT-3 without making them publicly available under

open-source licenses.

        66.      This cessation effectively concealed the identity of the web content data OpenAI

used to train its more recent models, making it more difficult for rightsholders to determine

whether their copyrighted works were used without permission in the training process.




10
   Ashley Belanger, OpenAI Plans “Tectonic Shift” from Nonprofit to for-Profit, Giving Altman Equity,” Ars Technica
(Sept. 27, 2024), https://arstechnica.com/information-technology/2024/09/openai-plans-tectonic-shift-from-
nonprofit-to-for-profit-giving-altman-equity.
11
   On May 5, 2025, OpenAI announced that its for-profit LLC will transition into a Public Benefit Corporation. See
Evolving OpenAI’s Structure, OpenAI website (May 5, 2025), https://openai.com/index/evolving-our-structure/ (last
visited on July 1, 2025).
12
    Code and model for the paper “Improving Language Understanding by Generative Pre-Training”,
https://github.com/openai/finetune-transformer-lm; Code for the paper “Language Models are Unsupervised
Multitask Learners,” https://github.com/openai/gpt-2.


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        67.      OpenAI’s release of its GPT-4 language model on March 14, 2023 was met with

significant disappointment from many in the AI community due to the lack of transparency

surrounding the model’s development. 13

        68.      One AI technologist criticized OpenAI for “proudly declar[ing] that they’re

disclosing *nothing* about the contents of their [GPT-4] training set,”14 citing a section of the

GPT-4 Technical Report that stated that “[g]iven both the competitive landscape and the safety

implications of large-scale models like GPT-4, this report contains no further details about the

architecture (including model size), hardware, training compute, dataset construction, training

method, or similar.”15

        69.      Rightsholders also expressed concern about the apparent unauthorized use of their

proprietary content in the model’s training process.16

        70.      Elon Musk, an original co-founder of OpenAI, has sued the company, alleging that

it breached its founding commitment to make AI breakthroughs “freely available” to “regulators

and the public” and premising a claim for unfair competition on, among other things, OpenAI’s

“rampant direct, vicarious, and contributory copyright infringement” and trademark dilution. 17

        71.      The Federal Trade Commission has investigated OpenAI’s selection and use of

third-party content as training data. In July 2023, The Washington Post reported on and published



13
   Chris Stolker Walker, Critics Denounce a Lack of Transparency Around GPT-4’s Tech, Fast Company (Mar. 15,
2023), https://www.fastcompany.com/90866190/critics-denounce-a-lack-of-transparency-around-gpt-4s-tech.
14
   James Vincent, OpenAI Co-founder Ilya Sutskever Says the Company’s Not Sharing GPT-4 Details for Competitive
and Safety Reasons, The Verge (Mar. 15, 2023), https://www.theverge.com/2023/3/15/23640180/openai-gpt-4-
launch-closed-research-ilya-sutskever-interview.
15
   OpenAI, GPT 4 Technical Report (Mar. 22, 2023), https://cdn.openai.com/papers/gpt-4.pdf.
16
   Alex Weprin, Barry Diller’s Media Companies Sue OpenAI, Microsoft for Copyright Infringement, Hollywood
Reporter (Feb. 28, 2024), https://www.hollywoodreporter.com/business/business-news/barry-diller-media-
publishers-sue-generative-ai-1235371039 (quoting Barry Diller, CEO of Dotdash Meredith parent company IAC
stating “If all the world’s information is able to be sucked up in this maw, and then essentially repackaged in
declarative sentences in what’s called chat but isn’t chat … there will be no publishing; it is not possible[.]”)
17
   Musk et al. v. Altman et al., Case No. 4:24-cv-04722-YGR (N.D. Cal. 2024), ECF No. 32 (Amended Complaint).


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a leaked Civil Investigative Demand from the FTC to OpenAI requesting, among other things,

that OpenAI describe its LLM training data in detail, including (i) how it obtained it, “e.g., by

scraping the data, purchasing it from third parties, or by other means”; (ii) “[a]ll sources of the

data, including any third parties that provideettind data sets”; (iii) “[t]o the extent the data was

derived from publicly available websites, a list of all such websites and, for each, the percentage

of the data corpus that is derived from that website”; and (iv) OpenAI’s policies related to selecting

and vetting sources of training data.18

        72.      OpenAI’s opacity and refusal to disclose training data stands in stark contrast not

only to its relatively transparent release of the top 1,000 domains of websites used in the WebText

training dataset for GPT-2 and a sample of the actual data, it also sharply diverges from the

practices of many LLM developers that continue to transparently disclose their training data. For

example, Apple, NVIDIA, Salesforce, Bloomberg, and Databricks have each disclosed the data

they used to train LLMs.19

        73.      While OpenAI characterizes training and operating LLMs and LLM-based

products and services using copyrighted content as non-infringing fair use in its own publications,

press quotations, regulatory submissions, and other public comments, OpenAI has in parallel led

its competitors in creating a robust market to license news and digital media publishers’ content



18
   Cat Zakrzewski, FTC Investigating OpenAI over Potential Consumer Harm Caused by ChatGPT, The
Washington Post (July 13, 2023), https://www.washingtonpost.com/technology/2023/07/13/ftc-openai-chatgpt-sam-
altman-lina-khan; Fed. Trade Comm’n, Civil Investigative Demand to OpenAI, Inc. (July 13, 2023),
https://www.washingtonpost.com/documents/67a7081c-c770-4f05-a39e-9d02117e50e8.pdf.
19
   See Sachin Mehta et al., OpenELM: An Efficient Language Model Family with Open Training and Inference
Framework, arXiv:2404.14619, at 2 (2024), https://arxiv.org/pdf/2404.14619; NVIDIA, nvidia/nemo-megatron-gpt-
20B, Hugging Face, https://huggingface.co/nvidia/nemo-megatron-gpt-20B (last visited Apr. 20, 2025).; Erik
Nijkamp et al., CodeGen: An Open Large Language Model for Code with Multi-Turn Program Synthesis,
arXiv:2203.13474, at 3 (2023), https://arxiv.org/pdf/2203.13474.; Shijie Wu et al., BloombergGPT: A Large
Language Model for Finance, arXiv:2303.17564, at 5–9 (2023), https://arxiv.org/pdf/2303.17564; Databricks,
databricks/dolly-v2-3b, Hugging Face, https://huggingface.co/databricks/dolly-v2-3b (last visited Apr. 20, 2025);
Databricks, databricks/dolly-v2-7b, Hugging Face, https://huggingface.co/databricks/dolly-v2-7b (last visited Apr.
20, 2025).


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for these same purposes. OpenAI has reportedly entered into licensing agreements with, among

many others, the Associated Press, Axel Springer, Dotdash Meredith, News Corp, The Atlantic,

Vox Media, Condé Nast, Hearst, Future plc, and Axios.

        74.     Since 2018, OpenAI has released a successive array of LLMs, including GPT-1,

GPT-2, GPT-3, ChatGPT/GPT-3.5, the GPT-4 series (including GPT-4o and GPT-4o-mini); the

o1 series (including o1-mini, o1 and o1-pro), the GPT-4.1 series, GPT-4.5, o4-mini and the o3

series (including o3-mini and o3-pro), and others. (The “o” prefix is used for models that

purportedly spend more time “reasoning” before they respond.20) OpenAI is expected to release a

GPT-5 model that incorporates these more advanced reasoning capabilities sometime in 2025. 21

        2.        OpenAI’s LLM Development

        75.       Generative AI is a type of AI that produces content, such as text, images, music,

and video. LLMs are Generative AI software models that generate text.

        76.       OpenAI develops LLMs by processing enormous pools of human-authored

expressive works for the purpose of generating similar content.

        77.       It first compiles large-scale datasets by collecting text such as articles, books, and

scraped web data from across the Internet, as described in more detail below.

        78.       OpenAI then copies these datasets of third-party content into its storage systems.

        79.       To train an LLM, OpenAI breaks down the third-party content into small units of

text (words and sub-words) called “tokens,” which are encoded as numbers. OpenAI then stores

this tokenized text content in the memory of its computer systems and processes it to train the

model.



20
   OpenAI, System Card: O1 (Dec. 5, 2024), https://cdn.openai.com/o1-system-card-20241205.pdf.
21
   Beatrice Nolan, Sam Altman Lays Out OpenAI’s Plans for GPT-5 and Beyond, Fortune (Feb. 14, 2025),
https://fortune.com/2025/02/14/sam-altman-openai-plans-gpt-5-release-timelines.


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        80.         During training, some of the tokens are omitted, or “masked,” and the model

attempts to predict what the missing tokens are, in a process that involves “sampling” from training

data. Each time the model does so, it adjusts its internal settings (called parameters) in a way that

is intended to cause the model to more accurately predict the correct masked tokens.

        81.         By repeating this process an enormous number of times, the model is able to

probabilistically produce text following the patterns of expression contained in the text content

training dataset.

        82.         Throughout this process, OpenAI discretionarily chooses what content to process

and which subsets of that content to emphasize by processing them more frequently. 22

        83.         Over the course of training an LLM, OpenAI causes its systems to adjust the

model’s parameters to optimize the model’s ability to reproduce the patterns in training data text—

in some cases verbatim.

        84.         In addition to the training process described here, sometimes called “pre-

training,” OpenAI uses other methods to develop models and prepare them for production use.

These methods go by various names, such as post-training and fine-tuning, and they often involve

the use of similar text content datasets, on information and belief containing Ziff Davis Works

and derivatives of them.

        85.         As the Bipartisan House Task Force on Artificial Intelligence Final Report

recounted, LLM training entails systematic translation of training data “into an overall

mathematical representation of the training corpus,” and some commentators argue that “the



22
   For example, OpenAI processed WebText2 almost three times over during training of GPT-3, stating that “datasets
[we]re not sampled in proportion to their size, but rather datasets we view[ed] as higher-quality [we]re sampled more
frequently,” to optimize for “higher quality training data,” despite a greater risk that training data will be reproduced
in outputs without request. Tom B. Brown et al., Language Models Are Few-Shot Learners, arXiv:2005.14165, at 8–
9July 22, 2020, https://arxiv.org/pdf/2005.14165 (referring to the risk of unrequested verbatim reproduction by the
term of art “overfitting”).


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model’s mathematical representations of training data should be considered reproduction or a

derivative work under copyright law . . . .”23

        86.        Put another way, LLMs effectively compress original creative expression and

store it in condensed form within the software itself, as parameters that will, given an input,

probabilistically select a chain of tokens forming an output that is identical or closely similar to

the relevant training text. 24 In this description, training is compression, output generation is

decompression, and the LLM contains a copy.

        87.        As a result of these processes, LLMs are known to exhibit a behavior referred to

as “memorization,” which occurs when the model can reproduce substantial portions of materials

used in training when provided with the right prompt.25

        88.        Memorization inherently requires LLMs to have encoded reproducible chains of

training text. This means that the models can replicate substantial verbatim portions of copyrighted

works included in the datasets, as they have been repeatedly shown to do.

        89.        OpenAI has realized enormous enterprise value by building products from the

copyrighted works of uncompensated content publishers whose livelihoods are now threatened by

those products.

        90.        In attempting to mimic the high-quality content that Ziff Davis has spent decades

perfecting, OpenAI simply stole that content, reproduced it in its own computer systems before,

during and after the training process, and knowingly enabled the creation of derivative output,

including competitive output, based on that content.


23
   U.S. House of Representatives, Final Report of the Bipartisan Task Force on Artificial Intelligence, at 116 (Dec.
2024), https://www.speaker.gov/wp-content/uploads/2024/12/AI-Task-Force-Report-FINAL.pdf.
24
   Giorgio Franceschelli et al., Training Foundation Models as Data Compression: On Information, Model Weights
and Copyright Law, arXiv:2005.14165 (October 7, 2024), https://arxiv.org/pdf/2407.13493v3.
25
   Avi Schwarzschild, Rethinking LLM Memorization: Are Today’s Models Parroting or Learning?, CMU MLD
Blog (Sept. 13, 2024), https://blog.ml.cmu.edu/2024/09/13/rethinking-llm-memorization.


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        91.       OpenAI has done so without compensating Ziff Davis for its immense

contribution to OpenAI’s bottom line.

        3.       OpenAI’s LLM Product Operation

        92.       Since its inception as a for-profit entity in 2019, OpenAI has leveraged its LLMs

to create a suite of highly successful products and services that have significantly contributed to

its financial success. These AI-powered offerings include API access to its LLMs; LLM-based

chatbot ChatGPT; ChatGPT Search (previously SearchGPT), an integrated LLM-based chatbot

and web search engine;26 and most recently ChatGPT Deep Research, an AI agent built on the o3

model that produces extensive reports based on autonomous web searching and crawling.27

        93.       Each of these products is gaining widespread adoption in both consumer and

business markets, driving OpenAI's growth and solidifying its position as a leader in generative

AI and the technology industry at large.

        94.       Since its release, ChatGPT has grown precipitously. It reached 400 million

weekly active users as of February 2025, according to OpenAI Chief Operating Officer Brad

Lightcap,28 and by early April 2025 ChatGPT had grown to approximately 800 million weekly

active users or “[s]omething like 10% of the world,” according to OpenAI CEO Sam Altman. 29

        95.       Within the first few months of launching its ChatGPT Plus premium product,

OpenAI saw rapid uptake, with many subscribing to the premium plans to gain access to faster


26
   Luke Jones, OpenAI Launches SearchGPT, an AI-Powered Search Engine, WinBuzzer (July 26, 2024),
https://winbuzzer.com/2024/07/26/openai-launches-searchgpt-an-ai-powered-search-engine-xcxwbn.
27
   OpenAI, Deep Research FAQ, https://help.openai.com/en/articles/10500283-deep-research-faq (last visited Apr.
20, 2025).
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   Kate Rooney, OpenAI Tops 400 Million Users Even as Rival DeepSeek Emerges, CNBC (Feb. 20, 2025),
https://www.cnbc.com/2025/02/20/openai-tops-400-million-users-despite-deepseeks-emergence.html.
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   Michael Nuñez , Sam Altman at TED 2025: Inside the Most Uncomfortable—and Important—AI Interview of the
Year, VentureBeat (Apr. 15, 2025), https://venturebeat.com/ai/sam-altman-at-ted-2025-inside-the-most-
uncomfortable-and-important-ai-interview-of-the-year; Martine Paris, ChatGPT Hits 1 Billion Users, OpenAI CEO
Says—Doubled in Weeks, Forbes (Apr. 12, 2025), https://www.forbes.com/sites/martineparis/2025/04/12/chatgpt-
hits-1-billion-users-openai-ceo-says-doubled-in-weeks/.


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performance and added features like access to its latest model. 30 Currently, OpenAI offers a free

product, a “Plus” product for $20 per month, a “Pro” product for $200 per month, and plans for

business teams and for enterprises.31 As of April 2025, ChatGPT had 20 million paying

subscribers.32

        96.        OpenAI also licenses its API and ChatGPT products to various corporate users

and to other AI businesses that build their offerings on OpenAI’s LLMs, including, for example,

the AI “answer engine” search and news service Perplexity,33 news service Particle News,34 and

Microsoft’s CoPilot line of products built into its Office productivity suite and GitHub software

code creation, management, and distribution platform.35

        97.        OpenAI has grown into a highly valuable commercial enterprise, realizing

approximately $3.7 billion in annual sales in 2024 and achieving $10 billion in annual recurring

revenue by mid-2025.36 OpenAI recently closed a funding round that valued the company at $300

billion.37



30
    Soundarya Jayaraman, Is ChatGPT Plus Worth $20/Month? What G2 Users Think, G2 Learn Hub,
https://learn.g2.com/is-chatgpt-plus-worth-it (last visited Apr. 20, 2025).
31
   OpenAI, ChatGPT Pricing, https://openai.com/chatgpt/pricing (last visited Apr. 20, 2025).
32
     Kylie Robison, ChatGPT has 20 million paying subscribers, The Verge (Apr. 1, 2025),
https://www.theverge.com/openai/640894/chatgpt-has-hit-20-million-paid-subscribers
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   Microsoft for Startups, Perplexity AI Powers Its Answer Engine with Azure OpenAI Service, Microsoft (Jan. 17,
2024), https://www.microsoft.com/en-us/startups/blog/perplexity-ai-powers-its-answer-engine-with-azure-openai-
service/.;     Perplexity    AI,   What      Advanced        AI    Models   Does      Perplexity    Pro    Unlock?,
https://www.perplexity.ai/hub/technical-faq/what-advanced-ai-models-does-perplexity-pro-unlock (last visited Apr.
20, 2025).
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   Sarah Perez, Particle Launches an AI News App to Help Publishers Instead of Just Stealing Their Work, TechCrunch
(Nov. 12, 2024), https://techcrunch.com/2024/11/12/particle-launches-an-ai-news-app-to-help-publishers-instead-of-
just-stealing-their-work.
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   Bernard Marr, A Short History of ChatGPT: How We Got to Where We Are Today, Forbes (May 19, 2023),
https://www.forbes.com/sites/bernardmarr/2023/05/19/a-short-history-of-chatgpt-how-we-got-to-where-we-are-
today.
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   Mike Isaac and Erin Griffith, OpenAI Is Growing Fast and Burning Through Piles of Money, The New York
Times (Sept. 27, 2024), https://www.nytimes.com/2024/09/27/technology/openai-chatgpt-investors-funding.html;
Ashley Capoot and Kate Roony, OpenAI hits $10 billion in annual recurring revenue fueled by ChatGPT growth,
CNBC,              https://www.cnbc.com/2025/06/09/openai-hits-10-billion-in-annualized-revenue-fueled-by-chatgpt-
growth.html?utm_campaign=article_email&utm_content=article-15203&utm_medium=email&utm_source=sg
37
   OpenAI, March Funding Updates (Mar. 31, 2025), https://openai.com/index/march-funding-updates.


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         98.      Monthly visits to ChatGPT have skyrocketed to a current estimate of 5.5 billion,

making it the fastest growing technology platform in history.38 As of June 2025, ChatGPT has

nearly 800 million weekly active users and around 122.58 million daily users. 39 According to

OpenAI’s own website, three million developers use OpenAI’s API.40 OpenAI plans to hit one

billion ChatGPT users by the end of 2025.41

         99.      OpenAI has often touted the ability of its GPT products to facilitate user

generation of content and the further sharing of that content with others. 42 For example, when

announcing “customizable” GPTs in 2023, Sam Altman said “GPTs are a new way for anyone to

create a tailored version of ChatGPT to be more helpful in their daily life, at specific tasks, at

work, or at home—and then share that creation with others.” 43 As to the advertising function of

media, Altman has said, “95% of what marketers use agencies, strategists, and creative

professionals for today will easily, nearly instantly and at almost no cost be handled by the AI . .

. .”44

         4.       OpenAI’s Deployment of RAG Functionality

         100.     OpenAI, like other providers of LLM-based consumer and enterprise products,

uses an accompanying technique called retrieval-augmented generation, or “RAG,” to draw on

and check against external stores of information, such as the web.



38
      Jim VandeHei and Mike Allen, Behind the Curtain: ChatGPT juggernaut, Axios,
https://www.axios.com/2025/06/12/chatgpt-openai-google-search-battle
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   S. Singh, ChatGPT Statistics 2025 – DAU & MAU Data [Worldwide], Demandsage official website, June 5, 2025,
https://www.demandsage.com/chatgpt-statistics/ (last visited on June 26, 2025).
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   API Page, OpenAI official website, https://openai.com/api/ (last visited on June 26, 2025).
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    F. Duarte, Number of ChatGPT Users (June 2025), Exploding Topics official website, June 24, 2025,
https://explodingtopics.com/blog/chatgpt-users (last visited on June 26, 2025).
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   Lance Whitney, ChatGPT Now Lets You Create and Share Links to Your Conversations, ZDNet (Jan. 1, 2023),
https://www.zdnet.com/article/chatgpt-now-lets-you-create-and-share-links-to-your-conversations.
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    Billy Perrigo, ChatGPT Just Got More Customizable With GPT-4 Turbo, TIME (Nov. 6, 2023),
https://time.com/6331994/chatgpt-cutomizable-gpt4-turbo.
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   Mike Kaput, Sam Altman’s AGI Quote About AI That Everyone Is Talking About, Marketing AI Institute (Apr. 9,
2024), https://www.marketingaiinstitute.com/blog/sam-altman-ai-agi-quote.


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        101.      RAG purports to enhance LLM output and make it more reliable, up-to-date and

accurate by “adding an information retrieval system that provides grounding data.” 45 In other

words, an LLM can incorporate external third-party content to fill “gaps” in its training data. (It

may combine such RAG inputs with user prompts and other system inputs invisibly to the user.)

        102.      OpenAI describes RAG as “the process of retrieving relevant contextual

information from a data source and passing that information to a large language model alongside

the user’s prompt. This information is used to improve the model’s output (generated text or

images) by augmenting the model’s base knowledge.” 46 Without RAG, an LLM’s “base

knowledge” is limited to content and information dating only up to the LLM’s training cutoff date.

        103.      In a common example, if asked a question about a current event, an LLM might

reach out to the web and pull current information about that event from a third-party news or

entertainment site. Otherwise, it would not be able to provide a meaningful response because the

content was not in its training set. Similarly, an LLM using RAG might draw from a silo of

published article content from a licensing partner in answering queries. One researcher has

described the difference between using RAG and not using this technique as “the difference

between an open-book and a closed-book exam.”47

        104.      The use of high-quality, specialized third-party content is particularly valuable to

RAG functionality because it enhances the accuracy of domain-specific output (thus theoretically




45
   Microsoft Azure, Retrieval Augmented Generation (RAG) in Azure AI Search, https://learn.microsoft.com/en-
us/azure/search/retrieval-augmented-generation-overview?tabs=docs (last visited Apr. 20, 2025).
46
       OpenAI,      Retrieval-Augmented     Generation     (RAG)     and     Semantic     Search    for    GPTs,
https://help.openai.com/en/articles/8868588-retrieval-augmented-generation-rag-and-semantic-search-for-gpts (last
visited Apr. 20, 2025).
47
    IBM Research, What Is Retrieval-Augmented Generation (RAG)?, IBM Research Blog (May 3, 2023),
https://research.ibm.com/blog/retrieval-augmented-generation-RAG.


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reducing the generation of false or misleading “hallucinations”) that may be missing from the

LLM’s broader dataset.

        105.       AI companies that use RAG therefore typically identify first-class, reliable

sources of content to be used for answering queries, organized (by the AI company) into indices

for rapid retrieval.48 ChatGPT Search uses RAG functionality to enhance responses to user

inquiries. OpenAI also uses RAG for its Deep Research product,49 and OpenAI web RAG

functionality is available to developers creating specialized applications using the OpenAI API.50

        106.       Testing of OpenAI’s LLM products has demonstrated that OpenAI’s models

access Ziff Davis content in producing RAG responses, as discussed below.

OpenAI’s Infringement of Ziff Davis Works in LLM Development and Operation

        107.       OpenAI has created and, upon information and belief, continues to create,

infringing copies of Ziff Davis Works, including the Registered Works, during at least five stages

of its development and operation of LLMs and LLM software and services.

        108.       First, OpenAI has copied and continues to copy Ziff Davis’s written works into

training datasets by exploiting existing pools of scraped website content and directly scraping

content from Ziff Davis websites.

        109.       In the process, OpenAI deliberately circumvented and continues to deliberately

circumvent technical copy protection measures, and to violate Ziff Davis website terms of use. It

also intentionally removes copyright management information.




48
   Olivia Shone, Common Retrieval-Augmented Generation (RAG) Techniques Explained, Microsoft (Feb. 4, 2025),
https://www.microsoft.com/en-us/microsoft-cloud/blog/2025/02/04/common-retrieval-augmented-generation-rag-
techniques-explained.
49
   OpenAI, Introducing ChatGPT Search (Apr. 1, 2025), https://openai.com/index/introducing-chatgpt-search.
50
   OpenAI, Assistants Overview, https://platform.openai.com/docs/assistants/overview (last visited Apr. 20, 2025).


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          110.       Second, OpenAI has created and continues to create copies or derivatives of Ziff

Davis Works, including the Registered Works, in encoded form in its LLMs and in new datasets

in the course of training those models.

          111.       Third, OpenAI has generated and continues to generate copies or derivatives of

Ziff Davis Works, including the Registered Works, in outputs from its LLM products, without any

accompanying CMI.

          112.       Fourth, OpenAI has saved and continues to save copies of outputs from its LLM

chatbot products containing Ziff Davis Works, including the Registered Works, to use to train

LLMs and improve LLM products.

          113.       Fifth, OpenAI has scraped and copied, and continues to scrape and copy, the

content of Ziff Davis Works, including the Registered Works, from Ziff Davis websites in order

to create additional LLM inputs and outputs when utilizing RAG functionality. OpenAI’s bots

scrape millions of pieces of content from Ziff Davis websites, including to enable RAG

functionality, on a weekly basis.

          114.       OpenAI’s own admissions, other public evidence, and Ziff Davis’s testing of

OpenAI models demonstrate that OpenAI has copied Ziff Davis Works, including the Registered

Works, at each stage of the training, development and operation of its LLMs, and knew or should

have known that these actions would inevitably result in the unauthorized distribution and/or

display of Ziff Davis Works to users.

           Content Scraping for LLM Training in Violation of Ziff Davis’s Express Instructions

          115.       OpenAI’s training sets consist of millions to billions of text documents copied

from massive volumes of pre-existing works.51 Each of these training sets, upon information and


51
     In training its GPT-2 model, for instance, OpenAI scraped the web and copied the text from 45 million web pages



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belief, contains large numbers of Ziff Davis Works, including the Registered Works, as described

in more detail below.

       116.        OpenAI operates a website crawling tool it calls “GPTBot” to, in its words, “crawl

content that may be used in training [its] generative AI foundation models.” 52 Thus, GPTBot

accesses and copies existing content to create training datasets for OpenAI LLMs.

       117.        To manage website traffic and protect content, websites use robots.txt directives,

which are machine-readable instructions in source text files hosted on the website’s server that

follow the Robots Exclusion Protocol syntax, and which tell web crawlers which areas of the site

the bot is allowed or disallowed from accessing and indexing.

       118.        A robots.txt file is a piece of code that functions as a technological mandate for

automated agents. Thus, when a “disallow” rule is present, it acts as a gate foreclosing search

engines and crawlers from accessing specified content. In order to bypass a robots.txt “disallow”

directive, a scraper must actively and intentionally override these explicit technical directives to

access the protected content.

       119.        Apparently in response to objections from content owners such as Ziff Davis,

OpenAI published technical instructions for website operators to “opt out” of content mining by

GPTBot, providing that adding the following two lines of instruction code to a site’s robots.txt

file would “disallow GPTBot to access your site:”53


to create its “WebText” training dataset. Alec Radford et al., Language Models Are Unsupervised Multitask
Learners (2019), https://cdn.openai.com/better-language-
models/language_models_are_unsupervised_multitask_learners.pdf, at 3. OpenAI used a successor dataset called
“WebText2” to train its GPT-3 model as well as an internally filtered version of CommonCrawl – a publicly-available
set of scraped web content – which on information and belief comprises 2.8 billion web pages. (The raw
CommonCrawl dataset in 2021 comprised 3.15 billion web pages, see https://commoncrawl.org/blog/july-august-
2021-crawl-archive-available; OpenAI then filtered CommonCrawl resulting in an approximate 10% reduction in size.
Brown et al., supra note 21, at 8–9).
52
   OpenAI, Bots Documentation, https://platform.openai.com/docs/bots (last visited Apr. 20, 2025).
53
   OpenAI, Disallowing GPTBot,



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         User-agent: GPTBot

         Disallow: /

       120.       Relying on OpenAI’s public commitment that it and its GPTBot would follow the

robots.txt scraping prohibition instructions that it published and not copy the content on websites

bearing them, Ziff Davis has at various times implemented those exact instructions across many

of its website root domain robots.txt files. It was of particular importance for Ziff Davis to

implement these measures because content on Ziff Davis sites generally is not behind any paywall.

       121.       Despite Ziff Davis’s implementation of OpenAI’s robots.txt instructions and

OpenAI’s public announcement encouraging the use of those instructions to prevent unauthorized

crawling, OpenAI, using its GPTBot, thereafter continued to actively ignore the disallow measure,

circumvent the digital gate, and scrape and make copies of content from Ziff Davis websites

without abatement, thus deliberately violating the very technical access measure OpenAI

promoted to prevent GPTBot from scraping website content.

       122.       As just one example, this graph shows GPTBot activity during two months in

2024 on one of Ziff Davis’s sites, ExtremeTech.com, on which Ziff Davis had implemented the

technical measures prescribed by OpenAI to block GPTBot:




https://web.archive.org/web/20230809173243/https://platform.openai.com/docs/gptbot/disallowing-gptbot (archived
Aug. 9, 2023).


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        123.      Remarkably, the GPTBot activity—on the above website and other Ziff Davis

websites—significantly increased after Ziff Davis wrote to OpenAI on May 20, 2024 demanding

that it stop infringing Ziff Davis content.

        124.     The spike in activity in 2024 also occurred contemporaneously with OpenAI’s

public statement that it had “recently begun training its next frontier model.”54

        125.      The spike also occurred shortly after OpenAI publicly touted its “pioneering” use

of robots.txt web crawler permissions, claiming that it “take[s] these signals into account each

time we train a new model.” 55 Ironically, it made these statements in connection with the

announcement of a planned—but never launched56—tool called “Media Manager,” which it said

would “enable creators and content owners to tell us what they own and specify how they want

their works to be included or excluded from machine learning research and training.”




54
   OpenAI, OpenAI Board Forms Safety and Security Committee, https://openai.com/index/openai-board-forms-
safety-and-security-committee (Apr. 15, 2025).
55
   OpenAI, Our Approach to Data and AI, https://openai.com/index/approach-to-data-and-ai (Apr. 4, 2024).
56
   Kyle Wiggers, OpenAI Failed to Deliver the Opt-Out Tool It Promised by 2025, TechCrunch (Jan. 1, 2025),
https://techcrunch.com/2025/01/01/openai-failed-to-deliver-the-opt-out-tool-it-promised-by-2025 (former OpenAI
employees stating of Media Manager, “I don’t think it was a priority” and “To be honest, I don’t remember anyone
working on it.”)


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        126.       OpenAI’s unauthorized crawling in violation of Ziff Davis’s robots.txt directive

is continuous and substantial. As another example, in June 2025, the month prior to the filing of

this Amended Complaint, OpenAI’s GPTBot scraped IGN 9.7 million times, including 1.1 million

times on June 17 and over 200,000 times on June 30, the day before this filing:




        127.       Ziff Davis had implemented the technical measures prescribed by OpenAI to

block GPTBot on IGN throughout this period and long before it.

        128.       In other words, while on notice of Ziff Davis’s claim and while it was advancing

a counter-narrative in press materials, OpenAI willfully circumvented Ziff Davis’s robots.txt

anti-scraping directives to scrape and copy Ziff Davis Works, including the Registered Works,

without compensating Ziff Davis and for the purposes of, upon information and belief, training its

latest LLM or LLMs. 57




57
   When recently challenged by upstart competitor DeepSeek’s claimed development of an LLM model with OpenAI
frontier models at far lower costs, OpenAI alleged that Deepseek circumvented technological “countermeasures to
protect [its] IP” in order to train DeepSeek models using OpenAI model text content interactions and outputs (a process
known as “distillation”). Cristina Criddle and Eleanor Olcott, OpenAI says it has evidence China’s DeepSeek used its
model to trainer competitor, Financial Times (Jan. 28, 2025), https://www.ft.com/content/a0dfedd1-5255-4fa9-8ccc-
1fe01de87ea6.


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        1.        OpenAI’s Reproduction and Storage of Ziff Davis Works in Training Data Sets

        129.        OpenAI copied, reproduced, and stored Ziff Davis Works, including the

Registered Works, in OpenAI’s storage systems for LLM training.

        130.        Ziff Davis has identified hundreds of full copies of the body text of Ziff Davis

Works in merely the small sample of OpenAI’s WebText dataset that it made publicly available.

Below is one example:

                                                                   OpenAI WebText public sample
             April 2016 Mashable article58
                                                                          (record 99183)



                                                               {"id": 99183, "ended": true, "length":
                                                               385, "text": "Atari the company might be
                                                               a shadow of its former self, but Nolan
                                                               Bushnell isn't out of the games game quite
                                                          →    yet.\n\nThe 73-year-old Atari co-founder
                                                               never left games completely \u2014 but
                                                               thanks to a new collaboration with mobile
                                                               publisher Spil Games, he'll get to bring
                                                               ideas he's been sitting on to smartphones
                                                               and tablets….




        131.        Upon information and belief, OpenAI continues to copy, reproduce, and store Ziff

Davis Works in OpenAI’s storage systems for LLM training.

        132.        “The performance of LLMs largely depends on the training data’s quality, size,

and diversity.”59 Thus, developers seek large pools of high-quality textual content that does not




58
   Adam Rosemberg, The co-founder of Atari is making video games again, Mashable (April 28, 2016),
https://mashable.com/article/atari-nolan-bushnell-spil-games.
59
   Humza Naveed et. al., A Comprehensive Overview of Large Language Models, arxiv:2307.06435 (Oct. 17, 2024),
https://arxiv.org/pdf/2307.06435.


                                                     37
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contain fact errors or bias; which includes varied vocabulary, sentence structures, and types of

language; and which is well-written, rich in context, organized, and reasoned.

        133.     Consistent with this incentive, OpenAI has asserted that “leading AI models”

could not exist without unrestricted access to high quality copyrighted books and articles. 60

        134.     Upon information and belief, Ziff Davis Works represent a material and outsized

portion of the sets of content used to train OpenAI’s LLMs.

        135.     One of the earliest, longest running and most conspicuous sets of content

produced by scraping the web is produced by the non-profit entity Common Crawl and contains a

broad-based archive of web content dating back to 2008.

        136.     When it was developing GPT-2, OpenAI found that broad web-scraped datasets

have “significant data quality issues” compromising their value in LLM training, in particular

because they contain “a large amount of documents ‘whose content are mostly unintelligible.’” 61

It therefore sought out higher-quality sets of content.

        137.     To train GPT-2, OpenAI “created a new web scrape which emphasizes document

quality” by “only scrap[ing] web pages which have been curated/filtered by humans.” 62 To do so,

OpenAI’s engineers scraped outbound links from the Reddit social media platform prior to the

end of 201763 that received a certain score from users as “interesting, educational, or just funny,”

ultimately becoming the WebText dataset.




60
   House of Commons Sci. & Tech. Comm., Written Evidence Submitted by OpenAI (AIC0383), U.K. Parl. (Mar.
2023), https://committees.parliament.uk/writtenevidence/126981/html/.
61
   A. Radford et al., Language Models Are Unsupervised Multitask Learners (2019), at 3.
62
   See id.
63
   OpenAI, GPT-2 Model Card, GitHub, https://github.com/openai/gpt-2/blob/master/model_card.md (last visited
Apr. 20, 2025).


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        138.      In 2019, OpenAI published the top 1000 domains found in the WebText content

dataset and the number of documents (each a web page associated with a unique URL) they each

had in WebText on GitHub.64

        139.      By OpenAI’s admission, Ziff Davis domains account for 168,091 of the 19

million total web pages from those top 1000 domains (0.877%), placing it eighth among a set of

peer large digital publishers.65

        140.      OpenAI also published a URL of sample WebText training data on GitHub.66 This

small sample of WebText contains numerous Ziff Davis Works, for example:

         June 2014 Lifehacker article67                             OpenAI WebText public sample
                                                                          (record 246641)

                                                                {“id”: 246641, “ended”: true, “lenght”:
                                                                1024, “text”: “A recent European ruling
                                                                decided that internet users can ask Google
                                                                to remove outdated or incorrect
                                                                information about them from search
                                                                results. Forget.me makes the whole
                                                           →
                                                                process as easy as possible.\n\n
                                                                Following the court ruling, Google
                                                                created an online form that allows
                                                                individuals to file data removal requests.
                                                                If you find a search link you'd like Google
                                                                to delete, Forget.me guides you through
                                                                the entire process….




64
   OpenAI, GPT-2 Training Data Domains, GitHub, https://github.com/openai/gpt-2/blob/master/domains.txt (last
visited Apr. 20, 2025).
65
   George Wukoson and Joey Fortuna, The Predominant Use of High-Authority Commercial Web Publisher Content
to Train Leading LLMs, SSRN, at 13 (Nov. 7, 2024), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=5009668.
66
   OpenAI, GPT-2 Output Dataset, https://github.com/openai/gpt-2-output-dataset (last visited Apr. 20, 2025).
67
   Mark Wycislik-Wilson, Forget.me Helps Remove You from Google Search Results, Lifehacker (June 26, 2014),
https://lifehacker.com/forget-me-manages-your-google-removal-requests-1596532961.



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Additional examples may be found in Exhibit D.

        141.      As neither OpenAI’s full WebText content dataset nor the source code used to

create it was publicly available, independent researchers reproduced that text corpus by following

the steps OpenAI documented and released the resulting data set on an open-source basis, calling

it “OpenWebText.”68

        142.      OpenAI used filtered Common Crawl data as well as a successor to WebText

dubbed WebText2 to train GPT-3.69

        143.      Although OpenAI has made very little information public about the WebText2

dataset, EleutherAI (an AI research institute) has created a content set dubbed “OpenWebText2,”

intended to reproduce WebText2.




68
   Skylion007, OpenWebTextCorpus, https://skylion007.github.io/OpenWebTextCorpus/ (last visited Apr. 20, 2025).
69
   T. B. Brown et al., Language Models Are Few-Shot Learners, at 9, 43; GPT-3 Model Card, GitHub,
https://github.com/openai/gpt-3/blob/master/model-card.md (last visited Apr. 20, 2025).


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        144.       Publicly available OpenAI training datasets and public proxies for obfuscated

OpenAI training datasets contain hundreds of thousands of, and up to over one million, Ziff Davis

Works, including Registered Works, as follows:

                             Dataset                         Count of Ziff Davis Works


               Common Crawl                                                         1,242,812

               OpenAI WebText top 1000 domains                                        168,091

               OpenWebText                                                            124,964

               OpenWebText2                                                           111,835


        145.       A recent “analysis of a representative sample of news, magazine, and digital

media publications” by the News Media Alliance, including five of Ziff Davis’s websites,

demonstrated that training datasets, including OpenWebText and OpenWebText2, “significantly

overweight publisher content by a factor ranging from over 5 to almost 100 as compared to the

generic collection of content that . . . Common Crawl has scraped from the web.” 70 The study

showed that Mashable, IGN, and Lifehacker were overrepresented in OpenWebText2, for

example, by 5,689%, 4,186%, and 3,754% respectively versus their proportion of Common Crawl.

        146.       After the release of GPT-3, OpenAI now declines to disclose anything about

training of its latest models beyond an indistinct gloss apparently devised to manufacture a fair

use defense.

        147.       For example, for GPT-4 OpenAI disclosed only that it trained the model on “both

publicly available data (such as internet data) and data licensed from third-party providers”71 and


70
   News/Media Alliance, Artificial Intelligence: A White Paper with Technical Analysis (Oct. 2023),
https://www.newsmediaalliance.org/wp-content/uploads/2023/10/AI-White-Paper-with-Technical-Analysis.pdf.
71
   OpenAI, GPT-4 Technical Report, at 2, (March 4, 2024), https://arxiv.org/pdf/2303.08774.


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that “GPT-4 has learned from a variety of licensed, created, and publicly available data sources,

which may include publicly available personal information.” 72

        148.     Similarly, OpenAI generally describes its o1 and o3 models as having been

trained “on diverse datasets, including a mix of publicly available data, proprietary data accessed

through partnerships, and custom datasets developed in-house.”73

        149.     Upon information and belief, OpenAI has used and continues to use similar

datasets including Ziff Davis Works (including Registered Works) to train LLMs.

        2.       Testing Corroborates the Presence of Ziff Davis Works in OpenAI’s Models

        150.     OpenAI’s deliberate obfuscation of its recent training data sources makes it

impossible for Ziff Davis to directly determine pre-discovery all of the particular content that was

used for training. Nevertheless, technical research and experimentation evidence that OpenAI used

Ziff Davis in training its models, and that encodings of Ziff Davis content persist within the

OpenAI models.

        151.     For these purposes, Plaintiffs focused on recent GPT models for which little

information about training sets has been publicly released: GPT 3.5 Turbo, GPT-4o, o3, and o3-

mini.

        152.     Several methods can be used to test the output of LLMs to determine whether

particular textual passages have been used in training or “memorized” by the model. These tests

can be accomplished through different prompting strategies, including by simply asking directed

questions to prompt the model to provide a verbatim passage or paraphrased version.




72
  Open AI, GPT-4 System Card, (2023), https://cdn.openai.com/papers/gpt-4-system-card.pdf.
73
  OpenAI, O1 System Card (Dec. 5, 2024), https://cdn.openai.com/o1-system-card-20241205.pdf; OpenAI, O3 Mini
System Card (Feb. 10, 2025), https://cdn.openai.com/o3-mini-system-card-feb10.pdf.


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      153.      When RAG functionality is enabled, the LLMs are able to reference content from

outside sources in real time during testing to generate verbatim and closely paraphrased content,

including from Ziff Davis websites in violation of their terms of use and other restrictions and

limitations.

      154.      Even without RAG functionality, some or all of the above LLMs produce

verbatim or closely paraphrased language from Ziff Davis articles, evidencing that the model has

“memorized” the passage in question, which it could only have accomplished by ingesting the Ziff

Davis article during training. Although OpenAI purports to have implemented guardrails to try to

limit verbatim and close paraphrasing in output, these guardrails have no impact on the training

and memorization of Ziff Davis Content that had already occurred.

      155.      Upon information and belief, a significant volume of Ziff Davis content was used

in training OpenAI models.

      156.      Upon information and belief, OpenAI’s advanced LLMs continue to

misappropriate copyrighted content, including material owned by the Plaintiffs, for use in its

training processes.

      157.      By collecting this textual content without proper authorization or consent from

Ziff Davis and copying the content both onto its servers and into the AI models themselves,

OpenAI has built its models and financial success on the piracy of protected content and flagrant

copyright infringement.

      158.      OpenAI has further built its models and business on the promise to partners and

consumers of artificially generated content that is similar or identical to, and competes directly

with, Ziff Davis’s content, free of advertisements or any copyright notices.




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Output from OpenAI LLMs Infringes Ziff Davis Copyrights

          159.       In other copyright infringement lawsuits against OpenAI, plaintiffs such as The

New York Times have alleged that OpenAI’s LLM products often generate output that includes

verbatim copies of the plaintiffs’ copyright-protected works. These parties’ pleadings have

included exemplary prompts and verbatim output.

          160.       OpenAI is well aware of the tendency of its LLMs to generate and thus distribute

to users verbatim copies of content used in training. 74

          161.       In the 24 months since legal claims were first brought against OpenAI, the

company appears to have made significant technical changes to its systems to avoid allegations

that it generates output that constitutes verbatim copying or close paraphrasing of third-party

works.

          162.       OpenAI has declined to disclose its “guardrail” measures publicly, but appears to

employ monitoring, filtering, and other limiting functions both in connection with consumer

products such as chatbots as well as with commercial products that provide API access.

          163.       Because OpenAI has declined to disclose the precise methods it uses to reduce

certain infringing outputs, it is impossible for Ziff Davis to know, at this stage of the litigation,

how and to what extent OpenAI suppressed the creation of infringing content through training

and/or whether it simply masked, altered, or deleted its infringing content before delivering it to

its users.

          164.       It is also impossible for Ziff Davis to know, at the pre-discovery stage, the extent

to which OpenAI deliberately engineered modifications to its systems and products to address




74
     See OpenAI, OpenAI and Journalism (Apr. 8, 2024), https://openai.com/index/openai-and-journalism.



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specific prompts used by Ziff Davis (and/or other copyright plaintiffs in other cases) to show

infringement.

        165.      Given the rapidity with which OpenAI made many of these seemingly cosmetic

changes, it could presumably undo all or most of them just as rapidly.

        166.      Notwithstanding the efforts by OpenAI and others to alter output to avoid

providing infringing results, Ziff Davis has nonetheless documented generation of verbatim

copies, close paraphrases, and substantiated derivatives of Ziff Davis Works, including the

Registered Works, in OpenAI output, constituting direct copyright infringement.

        167.      Even with numerous ostensible “guardrails” in place, OpenAI’s LLMs generate

verbatim and closely paraphrased content from Ziff Davis articles. For example, the beginning of

a Ziff Davis article75 inserted as a prompt for the GPT-3.5 Turbo Instruct LLM generated the next

50–90 words in that paragraph verbatim:




75
  Andrew Gebhart, Facial recognition: Apple, Amazon, Google and the race for your face, CNET, (March 18,
2019), https://www.cnet.com/home/smart-home/facial-recognition-apple-amazon-google-and-the-race-for-your-
face-facebook.


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                                       March 18, 2019 CNET Article




                                                     Prompt




                                      GPT 3.5 Turbo-Instruct Output




Additional examples may be found in Exhibit E.

          168.     Similarly, OpenAI’s models will generate verbatim output when accessing Ziff

Davis content using RAG functionality. 76




76
     All of the following examples were generated using OpenAI’s GPT-4, 4o and 3.5 Turbo-Instruct models.


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        169.      When infringing output is generated, either through OpenAI’s API, ChatGPT or

other products, that output is not merely publicly displayed. OpenAI provides various options to

assist users in distribution of output, including “copy,” conversion to audio (“reading aloud”),

“share,” “archive,” or “edit” using OpenAI’s separate editing tool, Canvas.

        170.      OpenAI then purports to transfer ownership of the infringing output, in all of its

derivative forms, to its commercial and individual users by purporting to “assign” all of its rights

in any output generated by its LLM products and services, stating in both its consumer Terms of

Use and its Business Terms, “As between you and OpenAI, and to the extent permitted by

applicable law, you . . . own [the/all] Output. We hereby assign to you all our right, title, and

interest, if any, in and to Output.”77


77
  OpenAI, Business Terms, https://openai.com/policies/business-terms/ (last visited Apr. 20, 2025); OpenAI, Terms
of Use (Rest of World), https://openai.com/policies/row-terms-of-use/ (last visited Apr. 20, 2025).


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        171.       OpenAI has further knowingly and materially contributed to infringement by

end-users of OpenAI’s LLM-based products through their creation of infringing output because

OpenAI monitors user inputs as well as LLM outputs and makes engineering and product design

decisions based on its observations to drive user engagement.

        172.       In addition to this monitoring, for the purpose of model training, OpenAI retains

copies of ChatGPT inputs and outputs for users who have not disabled chat history retention. 78

Therefore, upon information and belief, OpenAI possesses a repository of evidence of infringing

outputs from at least its ChatGPT products.79

        173.       Finally, aware that its services and products create infringing outputs or otherwise

may be the subject of intellectual property infringement claims, OpenAI indemnifies commercial

users of its API and ChatGPT services for damages awarded or settlement payments arising from

such claims.80

Output from OpenAI LLMs Misrepresents and Misattributes Ziff Davis Content

        174.       OpenAI’s products often generate misleading responses that falsely purport to

summarize or replicate Ziff Davis content. These responses can be misleading in myriad ways.

        175.       For example, a response may cite to a specific Ziff Davis article but (a) fail to

give a citation; (b) cite a different article from the same Ziff Davis website; (c) cite a different

article from a different website; (d) give an inaccessible citation (for instance, a missing or

incorrect hyperlink); or (e) cite a nonexistent article from the same Ziff Davis website or a different

website. Even when the correct Ziff Davis article is cited, it may be falsely described. This can be


78
   OpenAI, How Do I Turn Off Chat History and Model Training?, https://help.openai.com/en/articles/8983082-
how-do-i-turn-off-chat-history-and-model-training (last visited Apr. 20, 2025).
79
   On April 11, 2025, OpenAI produced to News Plaintiffs over three terabytes of metadata reflecting the volume of
user conversations it had, as of that date, in its possession for ChatGPT Free, Pro and Plus from December 9, 2022
through December 19, 2024. See May 7, 2025 New York Times Letter addressed to Judge Sidney H. Stein, In Re:
OpenAI, Inc., Copyright Infringement Litigation, No. 1:25-md-3143, ECF No. 21-1 at 2-3.
80
   OpenAI, Business Terms, https://openai.com/policies/business-terms/ (last visited Apr. 20, 2025).


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by omission of relevant content, by addition or “hallucination” of facts attributed to but not from

the article, or by addition of false statements of fact. A response may state that the website in

question never published anything on a particular topic when this is false, or claim that the website

did publish an article about a particular topic when it did not. For example:

                                      Hallucination of Article Content 81

             Actual Article Content                                         ChatGPT(4o) Output
               from June 6, 2025                                           Showing Hallucinated
                  PCMag Article                                               Article Content




81
   Kim Key, Raising a Connected Kid? 10 Smart Tips You Need to Know, PCMag, June 6, 2025,
https://www.pcmag.com/how-to/raising-a-connected-kid-10-smart-tips-you-need-to-know; Matt Binder, Here's what
DeepSeek AI does better than OpenAI's ChatGPT, Mashable (Jan. 27, 2025), https://mashable.com/article/deepseek-
ai-vs-openai-chatgpt.


                                                      50
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      Actual Article Content                       ChatGPT(4o) Output
      from January 27, 2025                       Showing Hallucinated
         Mashable Article                            Article Content




                                    51
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                  Citing Different, Outdated Article from Same Ziff Davis Site82


            ChatGPT (o3-mini) Output                                  Actually Cited (Older) Article




82
  Jake Peterson, Those Roku Ads Are Just a Setting, Actually, Lifehacker (Mar. 21, 2023),
https://lifehacker.com/those-roku-ads-are-just-a-setting-actually-1850287959; Jake Peterson, Roku Is Experimenting
With a New Way to Force You to Watch Ads, (Mar. 18, 2025), https://lifehacker.com/tech/roku-is-experimenting-
with-unskippable-ads.



                                                       52
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                                Citing Article from Another Publisher


                                       ChatGPT (o3-mini) Output83




83
   Chris Taylor, The book Facebook doesn’t want you to read: What you need to know, Mashable (March 18, 2025),
https://mashable.com/article/facebook-careless-people.


                                                      53
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                                       ChatGPT (o3-mini) Output84




84
  Joseph Green and Eric Miller, When will TikTok come back? Americans turn to VPNs with mixed results, Mashable
(Jan. 19, 2025), https://www.mashable.com/article/vpn-tiktok-ban-bypass.


                                                      54
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                      Inaccessible Hyperlink and False Description of Content


                                    Eurogamer Article on Cheat Codes85




                     ChatGPT (o1) Output: Inoperable Link, Misdescribed Content




85
   Matthew Reynolds, Red Dead Redemption 2 cheat codes list, Eurogamer (Jan. 15, 2024),
https://www.eurogamer.net/red-dead-redemption-2-cheats-codes-list-4975 (portion of article; highlight added).


                                                        55
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                           Identifying Nonexistent Ziff Davis Articles


                                       ChatGPT (4o) Output




      176.      Upon information and belief, OpenAI’s LLMs also cite Ziff Davis websites and

articles as the source of content that does not originate from Ziff Davis.

      177.      These misattributions deceive and mislead users, causing them to believe that the

source of the content being provided is Ziff Davis and rendering them unlikely to then proceed to

or otherwise engage with any referenced or linked-to Ziff Davis web properties.

OpenAI’s Removal of CMI

      178.      Upon information and belief, when OpenAI uses content that has been scraped

from websites as training content, it has intentionally removed CMI about the works of authorship

that have been scraped, including copyright notices, terms of use information, publication names,

domain names, URLs, article titles, subtitles, bylines, dates, and other source identifiers.




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        179.      OpenAI used software tools called Dragnet and Newspaper to copy Ziff Davis

Works, including the Registered Works, when creating the WebText dataset, removing such CMI

and extracting only the text content of websites.

        180.      OpenAI discusses its deliberate and intentional use of Dragnet and Newspaper to

remove text that constitutes CMI in its paper accompanying the release of GPT-2.86

        181.      Dragnet is designed to separate article body text from “footers, copyright notices,”

and other elements, and it does not extract author and title information. 87 The Newspaper tool also

extracts article body text without copyright notices and footers and may or may not extract author

and title information.

        182.      OpenAI’s publication of a sample of the WebText training dataset shows that CMI

was removed or omitted from copies of Ziff Davis Works before they were copied into the dataset.

        183.      For example, OpenAI’s WebText training dataset contains the full text of an

October 2016 Mashable article devoid of CMI, including the publication name, domain name,

URL, article title, subtitle, byline, date, copyright notice, and terms of use link that appeared in

and on the Mashable article web page:




86
  A. Radford et al., Language Models Are Unsupervised Multitask Learners (2019), at 3.
87
  Matt McDonnell, Benchmarking Python Content Extraction Algorithms: Dragnet, Readability, Goose, and Eatiht,
Moz DevBlog (Jan. 29, 2015), https://moz.com/devblog/benchmarking-python-content-extraction-algorithms-
dragnet-readability-goose-and-eatiht.


                                                     57
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                                                        {"id": 25474, "ended": true, "length":
                                                        972, "text": "It's been a long year. At
                                                        least, it feels that way if you spent it
                                                        waiting to pay for things with your chip
                                                    →   card.\n\nOne year ago today, regulations
                                                        surrounding liability for credit card fraud
                                                        switched to encourage banks and stores to
                                                        start using EMV (Europay, Mastercard,
                                                        Visa) technology, also known as chip
                                                        cards….




      184.      This is one of hundreds of known examples of verbatim copies of Ziff Davis

Works devoid of CMI in only the small sample of WebText that OpenAI made public.

      185.      Upon information and belief, Ziff Davis would find hundreds of thousands or

millions of such copies of Ziff Davis Works, including complete copies of the Registered Works,

that OpenAI created by removing CMI from copies of Ziff Davis web pages in the full WebText

dataset and other subsequent OpenAI LLM training datasets.

      186.      Upon information and belief, OpenAI knowingly stripped and strips CMI from

Ziff Davis content for several reasons.

      187.      First, OpenAI does so to conceal its own infringement, by removing embedded

information identifying content as belonging to Ziff Davis, eliminating the possibility that such

information will remain associated with the content when the latter is memorized by the LLM,

and upon information and belief making it less likely that the LLM will regurgitate incriminating

output referencing copyright restrictions.




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      188.       Upon information and belief, OpenAI also has taken other deliberate steps to

conceal infringement, such as inserting “supervised samples” of data into training material to

reduce incriminating answers.

      189.       Second, OpenAI knowingly stripped and strips CMI from Ziff Davis content to

facilitate infringement by itself and others. By removing CMI, OpenAI is able to disseminate

identical and closely-paraphrased copies of Ziff Davis content without the accompanying

information that would inform a third party of its provenance, causing such third party to believe

that the content is original and owned by OpenAI, and that it can be freely used, when that is not

the case.

      190.       Further, by providing access to its LLMs through its API, OpenAI directly

distributes CMI-free copies of Ziff Davis Works, including the Registered Works, to its customers.

Upon information and belief, access to these CMI-free models is of particular value to corporate

customers and partners that wish to use OpenAI’s LLM-based products, as they may allow those

parties to more freely exploit LLM output without the infringing nature of that output being

obvious. In particular, as shown above, both RAG-enabled and non-RAG enabled output often

results in identical or nearly identical copies of Ziff Davis content.

      191.       Upon information and belief, OpenAI applied and still applies this same approach

to scraped content used to train models after GPT-3, resulting in training sets that are identical

copies of the original content or portions thereof, except that copyright management information

has been deliberately excised. That this practice has continued even after OpenAI was put on

notice of Ziff Davis’s claims regarding removal of CMI, and after other parties brought claims

against OpenAI under the DMCA, demonstrates that OpenAI’s removal of CMI has been willful

and knowing.



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      192.       OpenAI’s willful removal of CMI and concealment of that removal facilitates

OpenAI’s ongoing and extensive copyright infringement, which directly harms Ziff Davis, as

discussed below.

OpenAI’s Products Can and Will Cause Great Harm to Ziff Davis

      193.       For nearly a century, Ziff Davis has been a prominent force in publishing, building

a portfolio of influential brands in the digital media and internet space that collectively reach

hundreds of millions of consumers each month and generate billions of dollars of revenue. Over

this time, it has invested substantial time, capital, and other resources into creating high-quality,

authoritative content across diverse fields, including information technology, shopping, gaming,

entertainment, connectivity, health and wellness, cybersecurity, and marketing technology. It has

done so successfully even against the headwinds of an increasingly fractured media landscape, by

leveraging its deep understanding of its audiences and delivering unique content to those

audiences.

      194.       By accessing, copying, reproducing, and displaying Ziff Davis’s original content

without authorization, OpenAI is likely to reduce Ziff Davis’s online traffic and audience sizes,

thereby undermining its ability to generate revenue from legitimate uses of this material, including

through advertising and other marketing services. Moreover, OpenAI accomplishes this by

essentially weaponizing Ziff Davis’s own content against it, mining that rich pool of human-

authored articles to deliver substitute, parasitic copies that require little extra effort for OpenAI to

produce beyond its initial, wholesale scraping of that content and copying it into its LLM software.

If allowed to proceed unabated, OpenAI’s rapid generation of copied or otherwise derivative

works produced in bulk and at a fraction of the cost of Ziff Davis’s content—even if any individual




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output is not directly infringing—threatens to oversaturate the market by directly competing with

and displacing Ziff Davis’s original content.

        195.        Ziff Davis is particularly susceptible to OpenAI’s cycle of copyright infringement

and other intentional rights violations beginning with web scraping because Ziff Davis generally

makes its content freely available on its websites—conditioned on compliance with its various

terms of service, but without typically requiring registration or payment.

        196.        OpenAI’s wrongdoing is particularly harmful to Ziff Davis because its

authoritative content and services in discrete and consumer-rich media verticals—whose content

informs consumer purchasing decisions—is highly valuable to OpenAI as it attempts to build an

ever more lucrative consumer business. Indeed, OpenAI CEO Sam Altman has expressed interest

in focusing on the type of sales commissions that Ziff Davis earns when users purchase products

reached via links from its product reviews as a source of revenue for OpenAI. 88

        197.        Further, to the extent that OpenAI utilizes Ziff Davis content to capture user traffic

and queries that would otherwise go to web search engines, Ziff Davis would lose traffic and

therefore revenue.89

        198.        OpenAI’s actions violate Ziff Davis’s copyrights and prevent Ziff Davis from

pursuing legitimate market opportunities that rely on the controlled use of its content, such as




88
   Ben Thompson, An Interview With OpenAI CEO Sam Altman About Building a Consumer Tech Company,
Stratechery (Apr. 15, 2025), https://stratechery.com/2025/an-interview-with-openai-ceo-sam-altman-about-building-
a-consumer-tech-company/ (“The kind of thing I’d be much more excited to try than traditional ads is a lot of people
use Deep Research for e-commerce, for example, and is there a way that we could come up with some sort of new
model, which is we’re never going to take money to change placement or whatever, but if you buy something through
Deep Research that you found, we’re going to charge like a 2% affiliate fee or something.”).
89
   A recent report finds that “AI chat bots on average drive referral traffic at a rate that is 96% lower than traditional
Google search.” TollBit, Bots Report: Q4 2024 (Feb. 24, 2025), https://tollbit.com/bots/24q4 (last visited Apr. 20,
2025).



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premium licensing agreements and strategic partnerships, leading to further lost revenues and

market devaluation.

       199.      OpenAI’s unauthorized use of Ziff Davis’s content undermines the established

market Ziff Davis has cultivated for its proprietary material. OpenAI’s offerings of advertising-

free, competing market substitutes poses a grave threat to Ziff Davis’s potential revenues.

       200.      On the promise of being able to deliver to consumers and corporate clients the

fruits of the creative output of all of Ziff Davis’s sites as well as those of countless other publishers,

OpenAI has in a handful of years created a business valued at over $300 billion, approaching the

market value of all of the world’s largest publishers in the aggregate. This suggests an enormous

value transfer from existing publishers to OpenAI.

       201.      Ziff Davis also enters licensing agreements permitting controlled commercial use

of its content. These agreements generate substantial revenue.

       202.      OpenAI, by simply taking Ziff Davis content without licensing it, and exploiting

copies of that content with CMI removed, avoids paying licensing fees or other consideration and

deprives Ziff Davis of fair market compensation, and risks flooding the market with copies or

derivatives.

       203.      During all relevant times herein, OpenAI acted with knowledge of the infringing

potential of its products. Despite this awareness, OpenAI continued to distribute and promote its

products, fully aware of the substantial likelihood that these actions would lead to unauthorized

reproduction and distribution of Plaintiffs’ copyrighted works, and substantial and continuing

harm to Ziff Davis.

       204.      Finally, OpenAI’s actions threaten Ziff Davis’s reputation as a leading source of

trusted and authoritative information. Over the course of the last century, Ziff Davis has



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painstakingly curated a reputation for high-quality, reliable, and expert-driven content that

engages consumers and builds brand loyalty. By exploiting Ziff Davis’s intellectual property

without authorization or attribution, and by misattributing content by Ziff Davis to other

publishers or content by other publishers to Ziff Davis, OpenAI is undermining the public’s

perception of Ziff Davis as the primary source of high-quality information in these domains,

diminishing consumer confidence and ultimately damaging Ziff Davis’s brand value and future

revenue potential.

                       FIRST CAUSE OF ACTION
               COPYRIGHT INFRINGEMENT (17 U.S.C. § 501)
      REPRODUCTION OF PLAINTIFFS’ CONTENT TO TRAIN OPENAI LLMS

      205.      Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

      206.      Plaintiffs are currently and at all relevant times have been either the owner or

exclusive licensee of the Registered Works, all of which are original works subject to copyright

protection.

      207.      Under 17 U.S.C. § 106, Plaintiffs hold the exclusive rights to reproduce the

Registered Works, to distribute copies of those works to the public, to publicly perform and

display those works, and to make, or authorize third parties to make, derivative works based on

those works.

      208.      OpenAI created and, on information and belief, continues to create training

datasets that duplicate millions of Plaintiffs’ articles and other content through the scraping of

Plaintiffs’ copyrighted content from their websites and reproduction of it from third-party datasets.

      209.      In this way, OpenAI has directly infringed and continues to directly infringe upon

Plaintiffs’ exclusive rights to their copyrighted material.



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      210.       Through the storage, processing, and reproduction of training datasets that include

millions of copies of Plaintiffs’ Registered Works to train its LLMs, including reproduction of

those works within the LLMs themselves, OpenAI has directly infringed upon Plaintiffs’ exclusive

rights in their copyrighted material.

      211.       Upon information and belief, OpenAI has willfully infringed and will continue to

infringe Plaintiffs’ copyright in and to the Registered Works, by exploiting those works without

authorization from Plaintiffs.

      212.       Upon information and belief, OpenAI has incorporated Plaintiffs’ Registered

Works into systems, software, products, and services without authorization, license, or consent,

thereby directly infringing upon Plaintiffs’ exclusive rights to those works.

      213.       OpenAI has directly profited from this large-scale and blatant infringement.

      214.       Plaintiffs are entitled to an injunction restraining OpenAI, its agents and

employees, and all persons acting in concert or participation with it, from engaging in any further

such acts in violation of the Copyright Act.

      215.       Plaintiffs are further entitled to recover from OpenAI the damages, including

attorneys’ fees, they have sustained and will sustain, and any gains, profits and advantages

obtained by OpenAI through its acts of willful infringement as alleged above. At present, the

amount of such damages, gains, profits, and advantages cannot be fully ascertained by Plaintiffs

but will be established according to proof at trial.

      216.       Plaintiffs are also entitled to recover, in the alternative, statutory damages of up

to $150,000 per work for OpenAI’s willful infringement of some or all of the Registered Works,

where Plaintiffs have registered each of those works for copyright prior the commencement of

infringement or within three months of their publication pursuant to 17 U.S.C. § 412.



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                    SECOND CAUSE OF ACTION
             COPYRIGHT INFRINGEMENT (17 U.S.C. § 501)
 REPRODUCTION OF PLAINTIFFS’ CONTENT IN OUTPUT FROM OPENAI LLMS

      217.      Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

      218.      Plaintiffs are currently and at all relevant times have been either the owner or

exclusive licensee of the Registered Works, all of which are original works subject to copyright

protection.

      219.      Under 17 U.S.C. § 106, Plaintiffs hold the exclusive rights to reproduce the

Registered Works, to distribute copies of those works to the public, to publicly perform and

display those works, and to make, or authorize third parties to make, derivative works based on

those works.

      220.      By engaging in unauthorized copying and reproduction of Plaintiffs’ Registered

Works in order to knowingly distribute generative output that includes copies and derivatives of

Plaintiffs’ Works, OpenAI has directly infringed upon Plaintiffs’ exclusive rights to their

copyrighted content and permitted users to do the same.

      221.      Upon information and belief, OpenAI has willfully infringed and will continue to

infringe Plaintiffs’ copyrights in and to the Registered Works, by exploiting those works without

authorization from Plaintiffs.

      222.      Upon information and belief, OpenAI has incorporated Plaintiffs’ Registered

Works into systems, software, products, and services without authorization, license, or consent,

thereby directly infringing upon Plaintiffs’ exclusive rights to those works. Moreover, OpenAI

has directly profited from this large-scale and blatant infringement.




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      223.       Plaintiffs are entitled to an injunction restraining OpenAI, its agents and

employees, and all persons acting in concert or participation with it, from engaging in any further

such acts in violation of the Copyright Act.

      224.       Plaintiffs are further entitled to recover from OpenAI the damages, including

attorneys’ fees, it has sustained and will sustain, and any gains, profits, and advantages obtained

by OpenAI through its acts of willful infringement as alleged above. At present, the amount of

such damages, gains, profits, and advantages cannot be fully ascertained by Plaintiffs but will be

established according to proof at trial.

      225.       Plaintiffs are also entitled to recover, in the alternative, statutory damages of up

to $150,000 per work for Defendant's willful infringement of some or all of the Registered Works,

where Plaintiffs have registered each of those works for copyright prior the commencement of

infringement or within three months of their publication pursuant to 17 U.S.C. § 412.

                            THIRD CAUSE OF ACTION
                    CONTRIBUTORY COPYRIGHT INFRINGEMENT

      226.       Plaintiffs repeat and re-allege the above allegations as though set forth at length

herein.

      227.       To the extent that end-users (both consumers and commercial clients) of

OpenAI’s LLM-based products and services may be found liable for direct infringement of

Plaintiffs’ copyrights, OpenAI has knowingly and materially contributed to this infringement.

      228.       OpenAI knowingly and willingly contributed to this direct infringement by

end-users by developing and deploying LLMs with the capability to reproduce, adapt, display,

and distribute Plaintiffs’ Registered Works without authorization. OpenAI deliberately trained its

LLMs on datasets containing Plaintiffs’ copyrighted works, embedding Plaintiffs’ creative content

into the models and facilitating unauthorized reproductions of these works in response to user


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prompts. Moreover, OpenAI exercised complete control over model outputs by fine-tuning LLMs

and implementing retrieval-augmented generation that facilitated responses based on Plaintiffs’

Works, maintaining an ongoing relationship with end-users by continuously adjusting its outputs

to respond to end-user prompts, and thus materially contributing to infringing outputs by end-

users.

         229.   During all relevant times herein—including during the creation, training,

development, deployment, and licensing of its products to end-users—OpenAI acted with

knowledge of the infringing potential of its products. Despite this awareness, OpenAI continued

to distribute and promote its products, fully aware of the substantial likelihood that these actions

would lead to unauthorized reproduction and distribution of Plaintiffs’ Registered Works.

         230.   OpenAI knew or should have known of the direct infringement by end-users, as

they engaged in extensive development, testing, and troubleshooting of their LLMs and LLM-

based products and services. Upon information and belief, OpenAI is fully aware that these

products and services have the capacity to and in fact do generate, display and distribute

unlicensed copies or derivatives of Plaintiffs’ Registered Works.

         231.   OpenAI is therefore liable for contributory copyright infringement and Plaintiffs

are entitled to damages, injunctive relief, and all other remedies available under the Copyright

Act.

                            FOURTH CAUSE OF ACTION
                         COMMON LAW UNJUST ENRICHMENT

         232.   Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

         233.   As explained in detail above, OpenAI’s LLMs are trained by using encoded

versions of source material, including Plaintiffs’ Registered Works (despite OpenAI’s promises


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not to do so), to repeatedly adjust model parameters until the model can accurately predict the

next token in a particular sequence.

      234.      Upon information and belief, OpenAI has been directly enriched by exploiting

Plaintiffs’ Registered Works to, in training, set the parameters of the very models that power its

multi-billion-dollar enterprise. These models derive their value from the caliber of their training

data, which means relying on meticulously researched, complex source material such as Plaintiffs’

content is key. Without it, OpenAI’s LLMs and LLM-based products and services could not

perform—or sell—nearly as well.

      235.      Rather than seeking to access Plaintiffs’ high-quality information for fair

consideration, OpenAI has benefited from over a century’s worth of Plaintiffs’ efforts by instead

simply taking, outright, an extraordinary volume of material, thereby avoiding the enormous cost

Plaintiffs expended to create that content.

      236.      By leading in the creation of a robust commercial market, including entering into,

reportedly, numerous multi-million dollar agreements with, among many others, the Associated

Press, Axel Springer (publishers of Business Insider and Politico), Dotdash Meredith, News Corp,

The Atlantic, Vox Media, Condé Nast, Hearst, Future plc, and Axios, OpenAI has clearly

acknowledged the enormous value of this source material to its business objectives.

      237.      OpenAI’s conduct has come at great expense to Plaintiffs. Training its LLMs on

Plaintiffs’ high-quality source material creates direct market substitution. By exploiting Plaintiffs’

material without compensation, it also undermines the growing market for legitimate data

licensing—a market OpenAI is central in spearheading—which in turn discourages other entities

from paying fair value for Plaintiffs’ material.




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      238.       As a result of OpenAI’s conduct and Plaintiffs’ injury, equity requires restitution,

payment to Plaintiffs of a fair price, and/or disgorgement to Plaintiffs of any profits OpenAI has

earned from its conduct, as well as other remedies available under the law.

                            FIFTH CAUSE OF ACTION
             CIRCUMVENTION OF TECHNICAL MEASURES (17 U.S.C. 1201(A)(1))

      239.       Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

      240.       Plaintiffs implemented technological measures designed to effectively control

access to its copyrighted works, which include robots.txt instructions promulgated by OpenAI and

other access restrictions, which are designed to prevent unauthorized use and distribution.

      241.       OpenAI, without authorization, circumvented these technological protections to

gain access to Plaintiffs’ copyrighted works.

      242.       Specifically, OpenAI disregarded and acted in contravention of Plaintiffs’

robots.txt instructions and copied and used Plaintiffs’ Works as part of its AI model training

datasets.

      243.       By intentionally circumventing these access control measures, OpenAI violated

17 U.S.C. § 1201(a)(1).

      244.       OpenAI acted knowingly and with the specific intent to bypass Plaintiffs’

technological protections to gain unauthorized access to Plaintiffs’ protected works, thereby

avoiding the licensing fees OpenAI would otherwise have been required to pay to Plaintiffs for

such access.

      245.       OpenAI’s unauthorized circumvention of Plaintiffs’ access controls deprived

Plaintiffs of the ability to protect its works from unlicensed access, use, and distribution, resulting

in significant financial harm.


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      246.       As a result, Plaintiffs are entitled to statutory damages, actual damages, restitution

of OpenAI’s profits derived from the unauthorized use, and all other remedies available under the

law, including full costs and attorneys’ fees.

                      SIXTH CAUSE OF ACTION
      REMOVAL OF COPYRIGHT MANAGEMENT INFORMATION (17 U.S.C. §
                             1202(B)(1))

      247.       Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

      248.       Plaintiffs included various forms of copyright management information in each

of its copyrighted Works, including the Registered Works. This CMI included, but was not limited

to, copyright notices, bylines, authorship information, the Plaintiffs’ names, titles of works, terms

of use information, and other identifying data or symbols linked to their copyright ownership.

      249.       Upon information and belief, OpenAI copied Plaintiffs’ Works without

authorization or consent and intentionally removed Plaintiffs’ CMI to build training datasets for

its AI models.

      250.       Specifically, OpenAI deliberately and knowingly removed or altered Plaintiffs’

CMI when copying Plaintiffs’ Works directly from Plaintiffs’ websites, as well as from third-party

datasets containing Plaintiffs’ content, to conceal Plaintiffs’ rights in these works.

      251.       As OpenAI then trained, and upon information and belief continues to train, its

LLMs on Plaintiffs’ Works with CMI removed, OpenAI’s LLMs store internal reproductions of

Plaintiffs’ Works devoid of CMI. Corporate and developer users of OpenAI's LLM-based

products then access these encodings of the works. Upon information and belief, these CMI-free

models are of particular value to corporate partners wishing to exploit OpenAI’s LLM-based

products.



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      252.      Upon information and belief, OpenAI removed or altered Plaintiffs’ CMI with the

knowledge and intent that such actions would enable, facilitate, or conceal potential infringement

by itself or by end-users, further obscuring Plaintiffs’ copyright ownership and fostering

unauthorized use of Plaintiffs’ Works.

      253.      Upon information and belief, OpenAI’s products were specifically designed to

exclude CMI from any outputs, including copyright notices, bylines, titles, and other identifying

information associated with Plaintiffs’ Works. Consequently, outputs from OpenAI’s products

frequently reproduce Plaintiffs’ copyrighted content without retaining any CMI, even when they

duplicate identically or closely replicate Plaintiffs’ original works. Further, queries to the OpenAI

LLMs will be less likely to identify the existence of CMI associated with the works.

      254.      By removing Plaintiffs’ CMI without permission and using the works in ways that

obscure Plaintiffs’ copyright ownership, OpenAI violated Plaintiffs’ exclusive rights under 17

U.S.C. § 1202 and exposed Plaintiffs to further unauthorized use of its copyrighted works.

      255.      OpenAI’s actions, including the intentional removal of CMI from Plaintiffs’

Works, violate 17 U.S.C. § 1202(b)(1).

      256.      OpenAI undertook these actions knowing, or having reasonable grounds to know,

that the removal of CMI would likely induce, enable, facilitate, or conceal further infringement of

Plaintiffs’ Works by obscuring Plaintiffs’ ownership and copyright protections. Plaintiffs have

been harmed by OpenAI’s unauthorized removal of CMI, which has obscured Plaintiffs’

ownership rights and facilitated further unauthorized use of its works. As a result, Plaintiffs are

entitled to statutory damages, actual damages, disgorgement of OpenAI’s profits gained from the

infringement, and all other remedies available under 17 U.S.C. § 1202(b), including full recovery

of costs and attorneys’ fees.



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                        SEVENTH CAUSE OF ACTION
          DISTRIBUTION OF WORKS WITH COPYRIGHT MANAGEMENT
                INFORMATION REMOVED (17 U.S.C. § 1202(B)(3))

      257.      Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

      258.      OpenAI’s conduct, as described herein, violates 17 U.S.C. § 1202(b)(3).

Specifically, OpenAI reproduced and created derivative, and in some instances identical, versions

of Plaintiffs’ copyrighted works from which CMI was intentionally removed, and then distributed

those versions to third parties without permission and with knowledge that the CMI had been

removed. This includes distribution not only through chatbot output to consumers, but also

through the delivery of enterprise chatbots and other LLM products and services to corporate

customers and partners, including through API access to the models.

      259.      Plaintiffs have been harmed by OpenAI’s unauthorized distribution of Plaintiffs’

Works with CMI removed, which has obscured Plaintiffs’ ownership rights and facilitated further

unauthorized use of its works. As a result, Plaintiffs are entitled to statutory damages, actual

damages, disgorgement of OpenAI’s profits gained from the infringement, and all other remedies

available under 17 U.S.C. § 1202(b), including full recovery of costs and attorneys’ fees.

                          EIGHTH CAUSE OF ACTION
             TRADEMARK DILUTION OF FAMOUS MARKS (15 U.S.C. § 1125(c))

      260.      Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

      261.      OpenAI has, without permission, exploited Ziff Davis’s Famous Marks in

connection with the promotion, advertisement, and sales of its LLM-based products to consumers

and business throughout the United States, including in Delaware. It has done so, in part, by

knowingly providing misleading or false summaries of Ziff Davis articles and other content


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alongside the Famous Marks in output from LLM-based products, and by misattributing third-

party content as originating with Ziff Davis.

      262.      The use of the Famous Marks alongside misleading or outright false content

constitutes dilution by tarnishment under 15 U.S.C. § 1125(c).

      263.      OpenAI’s unauthorized use of the Famous Marks has caused actual and proximate

harm to Plaintiffs by undermining its reputation as a publisher of high-quality and accurate

content, leading to economic loss.

                        NINTH CAUSE OF ACTION
      DILUTION AND INJURY TO BUSINESS REPUTATION IN VIOLATION OF
                 DELAWARE STATE LAW (6 DEL. C. § 3313)

      264.      Plaintiffs repeat and reallege the above allegations as though set forth at length

herein.

      265.      OpenAI has, without permission, exploited Plaintiffs’ distinctive trademarks in

connection with the promotion, advertisement, and sales of its LLM-based products and services

to consumers and business throughout the United States, including in the State of Delaware. It has

done so, in part, by knowingly providing misleading or false summaries of articles and other

content alongside the Registered Marks (including the Famous Marks) and Common Law Marks

in output from LLM-based products and services, in violation of Delaware’s anti-dilution

provisions (6 Del. C. § 3313).

      266.      The Registered Marks and Common Law Marks are inherently distinctive.

      267.      In knowingly providing misleading or false summaries of articles and other

content that is falsely attributed to the Registered Marks and the Common Law Marks, OpenAI

created mental associations between the marks and OpenAI, has diluted the distinctiveness of the

marks, and has injured Ziff Davis’s business reputation.




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      268.        OpenAI’s violations of 6 Del. C. § 3313, unless enjoined by this Court, will

continue to cause Plaintiffs to sustain irreparable injury, business reputational damage and loss for

which they have no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demands judgment and relief against OpenAI as follows:

         a.       Permanently enjoining OpenAI, its agents and employees, and all persons acting

 in concert or participation with it, from further exploiting the Registered Works in any manner;

         b.       Permanently enjoining OpenAI, its agents and employees, and all persons acting

 in concert or participation with it, from materially contributing to the unauthorized exploitation

 of the Registered Works in any manner;

         c.       Permanently enjoining OpenAI, its agents and employees, and all persons acting

 in concert or participation with it, from further exploiting Plaintiffs’ Works with CMI removed

 in any manner;

         d.       Permanently enjoining OpenAI, its agents and employees, and all persons acting

 in concert or participation with it, from further exploiting the Registered Marks and the

 Common Law Marks in any manner;

         e.       Permanently enjoining OpenAI from all other unlawful, infringing, or unfair

 conduct alleged herein;

         f.       Ordering the destruction of any datasets and models created by OpenAI that

 contain, or that cannot be shown to have fully and permanently deleted, Plaintiffs’ copyright

 works or any derivative content OpenAI has created from Plaintiffs’ copyrighted works.




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       g.         Awarding Plaintiffs actual damages, and in the alternative statutory damages,

disgorgement, restitution, and any other relief permitted in law or equity;

       h.         Pursuant to 17 U.S.C. § 503(b), ordering destruction of all OpenAI LLMs,

products, systems, and training sets incorporating the Registered Works;

       i.         Awarding Plaintiffs their costs and expenses, including reasonable attorneys’

fees and costs;

       j.         Awarding Plaintiffs prejudgment interest at the highest rate allowed under law;

and

       k.         For such further legal and equitable relief as the Court deems proper.




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                                DEMAND FOR JURY TRIAL


       Plaintiffs hereby demand a trial by jury on all issues so triable in accordance with Federal
Rule of Civil Procedure 38(b).


DATED: July 1, 2025

                                                           Respectfully submitted,

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